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 Pro Se 2(Rev. 12/16) Complaint and Request for [njunction




                                        UNITED STATES DISTRICT COURT
                                                                        for the

                                                             Central District of California

                                                                   Western Division


                                                                                  Case No.     2:17 CV-07896 JAK-AS
                                                                                              (to hefilled in by the Clerk's Office)
                          Witold Kowbel
                            Plaintiffs)
(Write the,~irll name ofeach plaintiffwho isfiling this complaint.
Ifthe names ofall the plaintiffs cannotfit in the space above,
please write "see attached" in the space and attach an additional
page with thefull list ofnames.J
                                -v-




              University of Southern California
                            Defendant(sJ
(Write thefull name ofeach defendant who is being sued. Ifthe
 names ofall the defendants cnrsnotfry in the spnce above, please
 write "see attached"in the space and attach an additionalpage
 with thefull list ofnames.)
                                                        SECOND AMENDED
                                   COMPLAINT AND REQUEST FOR INJUNCTION

 L         The Parties to This Complaint
           A.        The Plaintiffs)

                     Provide the information below for each plainriff named in the complaint. Attach additional pages if
                     needed.
                                Name                                 Witold Kowbel
                                Street Address                       6841 E. Flamenco                                                  '
                                City and County                      Tucson
                                State and Zip Code                   AZ 85710
                                Telephone Number                     520 405 6130
                               E-mail Address                        witoldkowbel(cr~,gmail.com




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          B.         The Defendants)

                     provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person'sjob or ritle (i~known). Attach addirional pages ifneeded.
                     Defendant No. 1
                                Name                        University of Southern California
                                Job or Title (ifknown)
                               Street Address               620 Mc. Carthy Way
                               City and County              Los Angeles
                               State and Zip Code           CA 90007
                               Telephone Number
                               E-mail Address (ifknown)


                     Defendant No. 2
                               Name
                               Job or Title (ifknowrr)
                               Street Address
                               City and County
                               State and Zip Cade
                               Telephone Number
                               E-mail Address (rfknown)


                     Defendant Na.3
                               Name
                               Job or Title (ifknown)
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address (i/~known)


                    Defendant No. 4
                               Name
                               Job or Title (i/'known)
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number



                                                                                                                  P~~e z ~~t ~
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                               E-mail Address (ifknown)


II.       Basis for Jurisdiction

          Federal courts are courts oflimited jurisdicrion (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a cirizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a cirizen ofthe same State as any plaintiff.

          What is the basis for federal courtjurisdiction? (check ald that apply)
                 ❑ Federal question                               ~ Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     Lisp the specific federal statute, federal tre~~ies, and/or provisions ~fthe United States Constituric~n that
                     are at issue in this case.




          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.        The Plaintiffs)

                               a.         Ifthe plaintiff is an individual
                                          The plaintiff, (name) Witold Kowbel                                 , is a cirizen ofthe
                                          State of(name) Arizona


                               b.         Ifthe plaintiffis a corporarion
                                          The plaintiff, (name)                                               ,is incorporated
                                          under the laws ofthe State of(name)
                                          and has its principal place of business in the State of(name)



                             (Ifmore than one plaintiffis named in the complaint, attach an additional page providing the
                             same informationfor each additionalplaintiff.)

                    2.         The Defendants)

                               a.         Ifthe defendant is an individual
                                          The defendant, (name)                                               , is a citizen of



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                                          the State of(name)                                              Or is a citizen of
                                        (foreign nation)




                                b.        Ifthe defendant is a corpararion
                                          The defendant, (name)     University of Southern California   ,is incorporated under
                                          the laws ofthe State of(Hamel      California                           ,and has its
                                          principal place of business in the State of(name)
                                          Or is incorporated under the laws of(foreixn narion)
                                          and has its principal place of business in (name)

                             (Ifmore than one defendant is named in the complaint, attach an additionalpage providing the
                             same informationfor each additional defendant.)

                     3.        The Amount in Controversy

                               The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
                               stake—is more than $75,000, not counting interest and costs ofcourt, because (explain):
                                The total amount of controversy is $455,000. The total amount includes the following:
                                $Z11,000 in recovery ofthe fees and hution paid to USC since USC breached implied contract.
                                $244,000 for all other educational costs associated with the Plaintiffs son education at USC
                                since the Plaintiff sent Ms son to USC not any other school by accepring USC offer to send his
                                son to USC in return for USC complying with its Policies and Promises. USC did not comply
                                with its Policies and Promises.

III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled t~ the injunction or ether relief sought. State how each defendant
          was involved ~d what each tiefend~t did that caused the plaintiff h~tm or violated the ~lainriffs rights,
          including the dates and places ofthat involvement or conduct. If more than one claim is asserted, number each
          claim and write a short and plain statement ofeach claim in a separate paragraph. Attach additional pages if
          needed.

          A.         Where did the events giving rise to your claims) occur?
                      University of Southern California(USC)




          B.         What date and appro~nate time did the events giving rise to your claims) occur?




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                      From Apri12013 till now




          C.         What are the facts underlying your claim(s)? (Far example: What happened to you? who dtd what?
                     Was anyone else involved? Who else saw what happened?)

                      Claim One. Breach ofImplied Contract Against USC

                      A Implied in fact Contract E~stence
                       Contract e~stance elements of mutual assent and good considerations ofthis implied in fact contract
                      are defined by USC and the Plainriffs factual conduct as stated below. In Spring of2013 USC
                      accepted the Plantiffs son. Subsequently USC has invited the Plaintiffto USC campus for one full
                      day visit. USC eartremely aggresively has used its marketiung tools and sales tools trying convince
                      the Parents of potential USC students to send their children to USC and pay to USC for their services
                      vs sending their children other schools where their children got also accepted and paying other schools
                      not USC. USC has made it very clear to the Plaintiff how critical to USC are the Parents and their
                      money since in many cases at USC the parents bear all the cost oftheir children educarion at USC
                      which is extremely high, at least. USC has described in its sale efforts the broad range of
                      educatarional services it would offer to its students in consideration for the money their parents would
                      pay to USC not merely just the classes in order to be more competitive in the educational service
                      business. During the freshmsn year USC actually required the students to live on campus, thus the
                      parents would not only pay USC for tuirion and fees but for boarding and lazgely for food, USC has
                      clearly stated that other considerations notjust classes are offered at USC for the parents money paid
                      to USC. It was clearly understood by the Plainriff that USC understood during its markering efforts that
                      parents who pay for their children to USC have clear RIGHTS at USC in consideration for their money
                      paid to USC. Actually USC has claimed how its networking is the biggest asset they offer vs their
                      comperition in educational services and how critical are parents to USC.


IV.       Irreparable Injury

          Explain why monetary damages at a later time would not adequately compensate you for the injuries you
          sustained, are sustaining, or will sustain as a result ofthe events described above, or why such compensation
          could not be measured.
           The Plaintiffhas been suffering from December 2016 till now emorional distress, and in some cases extremely
          acute distress and on a few occasions came close to suffer irreparable injury due to USC Breach ofImplied
          Contract Claim as stated in this complaint. The Defendant's absolute refusal to end Plaintiffs emotional
          distress will cause the Plaintiff irreperable injury absent ofinjuncrion relief. No future monetary compensation
          will ever repair such damage. There is absolutely no standard which can quantify and measure such irreparable
          injury.




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V.        Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming thax the wrongs alleged are conrinuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.
          This court injuncrion relief is the only avenue available to the Plantiffto prevent irreparable injury to the
          Plaintiff which will be caused by the Defendant's Breach ofImplied Contract unless injuntion is granted. Thus
          the Plaintiff seeks this Court Injunction to prevent irrepazable injury to the Plaintiff. In addition, the Plaintiff
          demands the Defendant to the pay the Plainriff$455,000 in compensatory damages plus interest and court cost.
          The compensatory damages include: $211,000 in recovery ofthe tuition and fees paid by the Plaintiff to USC.
          USC breached implied in fact contract with the Plaintifftaus the Yiainutiis enitiftied to revover the money he
          has paid to USC plus the interest. In addition the Plaintiff demands USC to pay him the $244,000 for all other
          costs the Plaintiff has incured with his son education at USC. The basis for it is the fact that the Plaintiff would
          have never sent his son to attend USC absent ofthe implied promises USC made to the Plainriff and USC has
          breached all its implied promises made to the Plaintiff..




VI.       Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, informarion,
          and belief that this complaint:(1)is not being presented for an improper purpose, such as to harass, cause
          unnecessary aeiay, or neeaiessly increase tie cost oflirigation;(Zj is supported by e~sting law or by a
          nonfrivolous argument for extending, modifying, or reversing eausting law;(3)the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigarion or discovery; and(4)the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case—related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.


                     Date of signing:                       07/07/2018


                     Signature ofPlainriff
                     Printed Name of Plaintiff               Witold Kowbel


          B.         For Attorneys


                     Date of signing:


                     Signature of Attorney



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                       Kowbei vs USC Additional Pages
 III. Statement of Claims.
 Claim One. Breach of Implied contract against USA (continuation).
   USC stated to the parents, including the Plaintiff, that their children would
 get the credits for all the properly completed classes and get USC
 degree/diploma after earning the needed credits. USC explicitly stated the
 uniqueness of USC degree, claiming highly unique U~~ degree would offer
 the parents who pay for all the extremely expensive educational cost at
 USC (tuition on the top bracket plus extremely expansive housing, making
 USG one of the most expensive private Universities in the USC} a degree
 for their children which would make them ultra- competitive in the market
 place and assure their excellent career and result in their financial
 independence from their parents. In addition, USC explicitly stated to the
 parents, including the Plaintiff, that it would always treat their children
 fairly and objectively and USC would never engage in any unfair conduct
 which would unfairly deprive parents children of earned USC credits and
 or USC degree which they earned as stated above. Atso USC stated, it
 would apply all its policies, rules and regulation to their children in fair
 manner by strictly adhering to them, when the parents send them to USC
 and pay for their educational expenses for them at USC. USC stated it
 PRIDES ITSELF in NON ALLOWING any UNFAIR treatment of its
 students. Making unsupported accusations by USC Professors against
 their students to deprive them of properly earned credits clearly
 constitutes non- fair conduct not allowed by USC's promise as stated
 above. Using unsupported accusations made by USC Professors against
 USC students in any disciplinary proceedings against USC students
 clearly constitutes non-fair conduct not allowed by USC's promise as
 stated above. Depriving USC students of properly earned credits and a
 degree by the use of unsupported accusations made against them by their
 USC instructors clearly constitutes non-fair conduct not allowed by USC's
 promise as stated above.
 Thus, fair conduct by USC's own admission, clearly included making no
 unsupported accusations by USC against its students, which USC could
 later use to deprive its students unfairly of earned credits and a degree
 from USG. Thus, USC's fairness Promise based upon the above stated
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 included: allowing the students to get credits for properly completed
 classes, allowing the students to get degree/diploma after they earned the
 needed USC credits and not to engage in any unfair conduct against its
 students including making unsupported a~cusatiQns, which would deprive
 the parents children of properly earned credits and USC degree/diploma.
   In simple terms, USC made its competitive implied in fact offer/promise to
 the parenfs, including the Plaintiff, to provide educational service package
 to their children, including allowing the studen#s to get the credits and get
 the degree and be treated FAIRLY as stated above, claimed to be very
 unique in clear consideration of the parents sending their children to USC
 and paying for all their educational s~rvi~s to U~~ and paying for all other
 educational expenses at USC.


 USC's promise to treat its students Fairly, imposed the following binding
 obligation on USC's conduct which could affect the Plaintiff by the following
 FACTS.
   Under no circumstances, USC on its own admission was allowed to treat
 Plaintiff's son unfairly by making unsupported accusations against him and
 then later use unsupported accusations against him, to take the earned
 credits away from him and prevent him firom getting USC diploma/degree
 when he became USC student.
 That was a huge benefit to the Plaintiff by providing assurances that his
 son would have never be unfairly deprived of any earned credits and
 unfairly deprived of USC diploma/degree which would directly affect the
 plaintiff as stated below. USC's fairness promise made to the parents
 including the Plaintiff, as stated above, imposed binding obligation on
 USC's conduct which could affect Plaintiff in the following way:
 Since fhe plaintiff was paying fior all the educational cast a~ USC, he would
 suffer the following damages when USC trea#ed Daniel unfairly in violation
 of its fairness promise: a) when USC deprived Daniel unfairly by making
 unsupported accusations of any credits needed for his graduation, Plaintiff
 would have to unjustly pay USA again for the same credits and all the
 educational expenses associated with spending additional time at USC, b)
 when USC deprived Daniel unfairly by making unsupported accusations of

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 USC degree/diploma, Plaintiff would lose all the money he has spent for
 Daniel's education, since USC degree was the sole reason Daniel has
 attended IJ~C thanks to Plaintiff covering all his educational cost at USA.


 The facts stated in this complaint established that USC unfair treatment of
 Daniel costs Plaintiff $455,000 since case (b) as stated above applies.
 USA's unfair treatment of Daniel by making and using unsupported
 accusations against Daniel, deprived Daniel of his USC degree and directly
 damaged the plaintiff as stated in (b).
  Thus, the fairness promise made by USC to the parents including Plaintiff
 in Spring of 2013, was not only a clear benefit to the Plaintiff but it imposed
 a binding obligation on part of USC to its conduct, which could directly
 affect the plaintiff as stated above and in fact affected the Plaintiff by
 damaging him to the extent of $455,000 since USC treated Daniel unfairly
 and deprived him of l~~G degree.
 Before accepting the implied in fact offer/promise made by USC to the
 Plaintiff, with the above stated promises USC has made to the parents
 including the Plaintiff, to send his son to USC and pay for all his
 educational expenses at USC including paying tuition and fees fo USC,
 Plaintiff has evaluated other Universities which also have accepted
 Plaintiff's son.
  Since several Universities have offered much more favorable financial
 terms and the I~lainti would be paying for all the educational expenses for
 his son, Plaintiff has very carefully evaluated all the available materials
from USC (catalogs, policies, rules, regulations, etc). Among other
 documents the Plaintiff has thoroughly studied USC Code of Ethics
(officially adapted by USC Board of Trustees nn March 28, 2004
 understanding how the promises made in USC Code of Ethics could affect
the Plaintiff directly). First USC Code of Ethics stated:" At the University of
Southern California, ethical behavior is predicated on two main pillars: a
communication to discharge our obligation in a fair and honest manner...".
   That statement clearly meant to the Plaintiff that USC is obligated to treat
 his son, Daniel FAIRLY , including not making any unsupported
 accusations against him which could deprive him of earned credits and or
                                       .~
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  degree, consistent with the promise USC made to parents, including the
  Plaintiff in Spring 2013 visit to USC. As stated above USC has expressly
  provided Plaintiff in its implied in fact offer/promise with binding obligation
  not to treat Plaintiff's son Daniel unfairly including not making any
  unsupported accusations against him, when he becomes a USC Student
  and Plaintiff would pay for his educational expenses at USC. That binding
  obligation could affect plaintiff the same way as stated above in the case of
  USC's fairness promise and in fact it affected the Plaintiff by damaging
  him. Also, as stated above in the case of USC fairness promise, that
  USC's binding obligation provided Plaintiff with direct benefit.
   U5C stated in its Code of ethics:" we do not take unfair advantage of
  anyone". Since Daniel is USC student, he is a part of USC community
  and that promise clearly extends to him. That promise clearly states that
  USC was not allowed to take unfair advantage of Daniel by any means
  which could constitute taking unfair advantage of Daniel by UDC.


  USC Code of Ethics promise" we do not take unfair advantage of anyone"
  imposed three binding obligations on USC's conduct which could affect
  Plaintiff by the following FA~T~
 Allowing USC Professor Ten~erich to make unsupported accusations
 against Daniel in his official complaint to SJACS which could deprive Daniel
 of his earned USC credits and USC degree clearly constitutes taking
 ur~fi~i~ ~~v~i~t~~~ bf D~r~i~l ~~ USC ~~~ it was not allowed by USCs own
 admission by USC's Code of Ethics promise as stated above. Allowing
 USC's SJACS to make subjective, unsupported by any evidence decision,
 against Daniel, which would deprive him of earned USC credits and USC
 degree constitutes taking unfair advantage of Daniel by USC and it way
 not allowed by USC's own admission by USC's Code of Ethics promise as
 stated above. Allowing USC's Appeal Panel to render unsupported, FINAL
 decision against Daniel, which would deprive him of USC earned credits
 and USC degree clearly constitutes taking unfair advantage of Daniel by
 USC and it was not allowed by USC's own admission by USC's Code of
 Ethics promise as stated above.
    Thus, making unsupported accusations against Daniel, by his USC
  instructor, which in fact were the basis to deprive him of properly earned
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  credits and then USC using such unsupported accusations in its SJACS'
  case against him to finally deprive him of USC earned credits and
  degree/diploma ~I~arly ~on~tit~tes taking unfair advantage by l~S~ of
  Daniel in clear violation of its Code of Ethics promise: " we do not take
  unfair advantage of anyone..." and it was prohibited.
     Thus, Daniel's USC instructor Tenderich, on USC's own admission
  was r~~# ~Ilc~wed to rnak~ unsupport~~ ~ccusatior~~ against Daniel which
  could deprive him of earned USC credits and USC degree. In fact,
  Daniel's instructor Prof. Tenderich used unsupported accusations against
  him to initiate USC's Disciplinary action against him. On its own
  admission, ~JSC was nvt allowed to use unsuppQrt~d accusations against
  Daniel in its initial SJACS' proceedings to render its decision against him
  depriving him of earned credits and USC degree. In fact, USC's SJACS
  used unsupported accusations against Daniel in its SJACS' case against
  him to deprive him of earned credits and USC degree. On its own
  admission, USC's Appeal Panel was not allowed to use unsupported
  accusations to render its FINAL decision against Daniel depriving him of
  earned USC credits and USC degree. In fact, USC's Appeal Panel used
  unsupported allegations to render its decision against Daniel.
  USC's promise not to take unfair advantage of Daniel with these three
 binding obligations as stated above was a clear benefit to the Plaintiff by
 providing Plaintiff with the assurances that USC would not take away from
 Daniel his earned credits and deprive him of USC diploma/degree by
 engaging in an unfair conduct including making unsupported accusations.
 That benefit was similar benefit to that as described above in case of
 USC's fairness promise made in Spring of 2013 to parents including the
 Plaintiff.
  USC's promise not to take unfair advantage of Daniel with its three
  binding obligations as stated above also imposed binding obligations on
  part of USC on its conduct which could affect the Plaintiff in the following
  way:
    First, USC promise not to take unfair advantage of Daniel did not allow
 Daniel's instructor, Prof. Tenderich to make unsupported accusations
 against Daniel in his SJACS' complaint which could deprive him of earned
 USC credits and UDC degree. It could affect the RlaintifF directly since

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  allowing Tenderich to make unsupported accusations against Daniel could
  result in changing Daniel's earned grade from C to F and could deprive
  Daniel ~f credits need~~ for graduation and USA degree. Thus, the
  Plaintiff would have to pay USC unjustly for getting the same credits again
  and the full cost associated with spending additional time at USC to
  unjustly re take the same class. Depriving Daniel of USC degree would
  cost Plaintiff $455,000 full educational cost at USC since USC degree was
  the sole reason Plaintiff sent Daniel to USC and incurred $455,000 cost.
  Secondly, USC's promise not to take unfair advantage of Daniel, did not
  allow SJACS to use unsporting accusations against Daniel and in fact
  change his earned C grade to F, which deprived Daniel of credits needed
  for graduation and USC degree. The direct affect on the Plaintiff is stated
  above in the case of the first obligation.
   Thirdly, USC's promise not to take unfair advantage of Daniel did not
  allow USC's Appeal Panel to use unsupported accusations against Daniel
  to affirm SJACS' unsupported decision, and finally changed his earned
  grade C to F, and deprived him of USC credits needed for graduation and
  USC degree, since USC claims its 100% unsupported Appeal Panel's
  decision is FINAL within ~J~C system. The direct affect on the Plaintiff is
  stated above in the case of the first obligation.
    Receiving the earned credits at USC needed for graduation and
  receiving USC diploma/degree by Daniel was undisputed benefit to not
  only t~ Daniel but clearly tQ the Plaintiff. With USA degree/diploma Daniel
  could get good job and support himself and be able to pursue good carrier
  and become financially independent as USC claimed it would happen due
  to uniqueness of USC degree. Since Daniel is Plaintiff's son, Plaintiff
  would directly benefit from it, by not worrying about his son's future and the
  need to support him in the future after he gets his USC diploma/degree.
  USC, as stated above, fully admitted that degree from USC, not just
 taking classes from USC would justify for the parents to cover extremely
 high educational cost at USA. Without getting the degree the money spent
 on USC education would be a huge financial loss to the Plaintiff on USC's
 own admission as stated above. Therefore, the Plaintiff has suffered a loss
 of $455,000 since his son was deprived by USC's conduct of taking unfair
 advantage of him by his instructor making unsupported accusations against

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  him, USC's SJACS and Appeal Panel using the unsupported accusatioins
  against Daniel to deprive him of properly earned USC credits and USC
  diploma/degree.
  Thus, USC failure to keep its implied in fact promise not to take unfair
  advantage of Daniel in its conduct described above resulted in $455,000
  loss to the Plaintiff.
   In addition, USC asked Daniel to wrife a five p~g~ ~~say ot~ ~fii~i~es since
  he allegedly committed Academic Dishonesty while USC provided zero
  supporting evidence. For Daniel, that was the ultimate USC
  UNFAIRNESS and caused Daniel additional huge emotional suffering.
  Dani~l'~ suffering r~~ult~d in 6~l~intiffs hugs emotions! ~uff~ring
   Thus, taking unfair advantage as specified above affected the plaintiff by
  causing Plaintiff to suffer financial losses and huge emotional distress as
  stated above.
   USC's Code of Ethics statement" we not take unfair advantage of
  anyone" was also a highly unique statement. As clearly stated above and
  below keeping promises made by USC in its implied offer/promise made in
  Springy 2013 and its Code of Ethics was essential to Plaintiff not to be
  damaged and not suffer financial losses in educational expenses for
  Plaintiff's son, Daniel at USC.
   For comparison, Arizona State University, which made Plaintiff's son
  h~ag~ly m~r~ ~~m~~titiv~ offer had nQ m~nti~n Qf nit taking unfair
  advantage Promise in its Code of Ethics and never stated "We keep these
  promises." as USC stated in its Code of Ethics. Therefore, USC's
  promises and undisputed, documented intent in its Code of Ethics to keep
  its promises made USC unique to the Plaintiff and it was the decisive factor
  Plaintiff sent his son in August of 2013 to USC so he can get USC degree
  claimed by USC to be so unique.
  In addition, USC policy on Student Conduct Code( SCC) sections 10.11.1
 ~n~ 15.04 ~#riGtly req~ r~~ I~SG to apply ~r~~onc~~ranGe of ~videnc
 standard in its disciplinary proceedings to Daniel since he is USC Student
 and Student Conduct Code directly applies to him. Also as USC stated in
 Spring 2013 during Plaintiff's visit, USC was required to strictly comply with
 its publicly stated rules and regulations in a fair manner by strictly applying

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 preponderance of evidence standard in Daniel's Disciplinary proceedings
 since it is a USC rule and Daniel is USC student. Thus, strict
 compliance with the preponderance of evidence standard was absolutely
 required by UDC as was clearly promised by UDC to the Plaintiff in spring
 of 2013 since it is USC rule and Daniel is USC student. Also, USC rules
 directly apply to Daniel as USC student and USC is obligated to comply
 with them by USC's own admission in its Code of Ethics" we keep
 promises". That promise clearly extended to US+~'s SJACS proceedings
 against Daniel. Thus, USC was required to comply with its
 preponderance of evidence standard in its SJACS' proceedings against
 Daniel and not to deprive Daniel of his earned credits and or degree by
 U~Cs failure fia comply with its required ar~d rr~andatory prepor~deranee ~f
 evidence standard in his SJACS' proceeding.Again, that was a clear benefit
 for the Plaintiff regarding any USC Disciplinary actions against DANIEL
 which would deprive him of earned credits and degree by advancing
 unsupported accusations within USC'~ disciplinary proceedings and
 causing the Plaintiff direct financial losses as discussed above in the case
 of USC's Fairness promise made in Spring of 2013 and USC's Code of
 Ethics promise not to take unfair advantage of Daniel. USC's promise to
 use its preponderance Qf evidenc,~ standard in its disciplinary proceedings
 in Daniel's case imposed binding obligations on USC's conduct which could
 affect the Plaintiff by the following FACTS:
  USC's promise to comply with its policy on preponderance of evidence as
 st~t~d ~bov~ ir~npo~ed ~ bir~dirtg oblig~ti~r~ cart tie part ~f USA tt~ its
 conduct at the initial review and USC Appeal Panel's conduct, which
 could affect and in fact affected the plaintiff by causing him financial
 losses as stated below.
   USC's promise to use preponderance of evidence in Daniel's SJACS
 case initial review by Barton, could affect the plaintiff since Barton's failure
 to apply this standard would result in depriving Daniel of earned credits
 required for graduation and USC degree despite the fact that the
 preponderance of evidence was 1 b~°10 in favor of Daniel. ~`hus, under no
 conditions, Barton could affirm Tenderich's accusation and impose 100%
 unjustified sanctions on Daniel within the meaning of the preponderance of
 evidence standard of proof. Since the Plaintiff has paid for all educational
 cost for Daniel, the direct affect on the Plaintiff was skated above in the

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   case of USC's fairness promise and USC's Code of Ethics," we do not
  take unfair advantage of anyone" Promise.
  l~~G's prami~e to use preponderanr~ of evidence in USC Appeal Panel's
  decision, could affect the Plaintiff since Appeal's Panel failure to use
  preponderance of evidence would deprive Daniel of earned credits required
  for graduation and USC degree despite the fact that preponderance of
  evidence was 100% in Daniel's favor. Thus, USC Appeal Panel's failure to
  apply USC mandatory preponderance of evidence standard of proof would
  impose, final 100% unjustified sanctions against Daniel depriving him of
  earned USC credits and USC degree. Since Plaintiff has paid for all
  Daniel's educational cost at USC, the direct affect on the Plaintiff was
  stated above in USA's fairness promise and USA's bode of ethics," we do
  not take unfair advantage of anyone" promise.
  Plaintiff has clearly accepted all the promises made by USC in Spring of
 2013 during Plaintiff's visit to USC, in USC Code of Ethics "we do not take
 unfair advantage of anyone and USC Student Conduct Code(SCC)
 preponderance of evidence proof, SCC sections 10.11.2 and 15.04 as the
 integral part of educational services USC implied in fact offer/promise
 made to the Plaintiff which USC presented to the Plaintiff during one day
 visit to U~~ in spring of ~~~ ~.
  On its own admission, USC stated in its Code of Ethics:" when we make
 promises on behalf of USC as the institution, or as individuals who are
 authorized on behalf of USC, we keep these promises". Therefore, Plaintiff
 has been 1~O~lo justified expecting USA to comply with its implied promises
 made to the Plaintiff, which could affect the Plaintiff as stated above. Since
 USC on its own admission stated it complies with its promises, it is
 undisputed fact, Defendant USC has actual knowledge that Plaintiff
 expected ~ 00°lo USC compliance with its implied promises, which could
 affect the Plaintiff as stated above, when USC has accepted Plaintiff's
 payments for his son's educational services at USC. All the promises
 made by USC as stated above imposed binding obligations on USC's
 c+~nduet which ~~ould affect Pt~intiff by causing him financial losses as
 stated above and in fact greatly affected Plaintiff by causing him great
 financial losses as stated above and below. Plaintiff has fully expected


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  USC to keep all its promises to prevent USC from inflicting damages on
  the Plaintiff when USC accepted knowingly Plaintiff's payments.
   Promises made by USC in its implied in fact offer/promise, Code of Ethics
  and USC Student Conduct policy provided direct benefit to the Plaintiff
  since USC compliance with these promises would assure the Plaintiff that
  his son Daniel would receive his USC credits and degree if he duly earned
  all the credits even if Unsupported Accusations or any other form of
  unfair/taking unfair advantage conduct was ever made against him by USC.
  Since these promises created binding obligations which could affect the
  Plaintiff as discussed above to cause him financial losses, under no
  circumstances PlaintifF would accept implied in fact offer from USC, sent his
  son to USC and paid for his expenses if USC made no such promises to
  the Plaintiff which provided him with the benefits as stated above.
  Thus, if USC kept its promises/binding obligations to treat Daniel fairly, not
  take unfair advantage of him and apply preponderance of evidence
  standard in his SJACS' proceedings, Plaintiff would have never been
  damaged and never lost the money paid for Daniel educational services at
  USC.
   Receiving USC degree was the sole purpose of Plaintiff sending Daniel to
 USC and paying for all the associated costs. Subsequently, between
 August 2013 and May 2017 Plaintiffs son has attended USC and took all
 USC classes needed for his graduation from USC. Plaintiff has directly or
 indirectly (co-signed his son student loan) paid for all the educational
 costs including tuition, fees, board, food, transportation, books, etc (total of
 $455,000)for Daniel from August 2013 till May 2017 at USC. The total
 cost of tuition and fees paid to USC was $211,000. Plaintiff has obligated
 himself to pay for all the tuition and fees by providing USC with his
 accounts for the payments plan. Therefore, Plaintiff made himself 100%
 responsible for Daniel's fees and tuition at USC
  Daniel has never obligated himself to make any payments for fees and
 tuition to USC. Daniel had absolutely no financial resources to pay any
 money to USC so he could not obligate himself to pay USC any money
 and was able to attend USC solely because of Plaintiff's payments. USC
 had actual knowledge that Plaintiff not Daniel was obligated to pay for
 Daniel's tuition and fees. USC took $211,000 from Plaintiff and simply

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  deprived unfairly Daniel of his degree and damaged the Plaintiff despite the
  definite promises USC has made. The only reason Plaintiff has obligated
  himself to pay for all USC fees and tuition was for USC to give Daniel the
  diploma after he properly earns all required USC credits as was clearly
  promised to Plaintiff.
  USC has accepted all Plaintiff's payments and in consideration of the
  payments it received from the Plaintiff, USC has allowed Daniel to take all
  USC classes a# USC needed for getting his diplomaldegree from USC.
  Daniel has duly earned all the USC credits required for getting his diploma
  in Public Relations from USC.
   Per implied in fact promises made by USC to the Plaintiff in the implied in
  fact offer/promise made by USC in Spring of 2013, Daniel si~oul~ be able
  to get his diploma from USC since he properly earned all the required
  credits at USC. But, first USC took unfair advantage of Daniel in a dual
  mode. First, it allowed his Professor to make unsupported accusations
  against Daniel and then it used the unsupported accusa#ions to unfairly
  changed his duly earned grade C to F which in fact deprived Daniel of the
  needed credits for getting his USC diploma/degree which is clearly taking
  unfair advantage of Daniel. The only reason Plaintiff paid $211,000 to I~SC
  and incurred the total educational cost of $455,000 was to get his son's
  diploma/degree from USC
  The above facts establish mutual assent: Plaintiff obligated himself to pay
  all tuition and fees at USC for Daniel and USC accepted it; USC obligated
  itself to give Daniel credi#s for mee#ing all the class requiremen#s, give him
  the degree when he earns the needed credits at USC and treat Daniel fairly
  and in compliance with Its promises made during Spring 2013 Plaintiff's
  visit to USC and in its Policies and not deprive him unfairly, by taking unfair
  advantage of him, and failing to apply mandatory preponderance of
  evidence standard of proof to his SJACS' case of his earned credits and
  degree USC. Plaintiff has accepted all the promises made by USC as
  the part of USC implied in fact offer/promise on its educational service
  package USC made in Spring of 2013.
  The above stated FACTS clearly define the following implied in fact
  contract the Plaintiff has with USC.


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  In consideration for the Plaintiff's $211,000 paid to USC for his son's
 tuition and fees, USC had the following contractual obligations to the
 Plaintiff. First, USC was required to allow Daniel to take classes at USC
 so he could earn the credits required for getting his diploma/degree,
 Secondly, USC was not allowed to treat Daniel unfairly and take unfair
 advantage of him by making unsupported accusations against him by his
 own instructor which could deprive him of earned USC credits and USC
 degree. Thirdly, USC was not allowed to treat Daniel unfairly and take
 unfair advantage of him by using unsupported accusations against him in
 its SCAJS' proceedings against him and deprive him unfairly of the
 properly earned USC degree and USC credits. Fourth, USC was
 required to follow its Disciplinary policy on preponderance of evidence,
 SCC sections 10.11.2 and 15.04 in its SJACS' proceedings against Daniel
 at both initial review and the Appeal stage and not deprive Daniel of his
 properly earned USC degree and USC credits by its failure to apply the
 required preponderance of evidence standard to his SJACS' case.
    All USC considerations/obligations stated above clearly provided benefit
  to the Plaintiff as justified above and are very definite since USC breach of
  its obligations can be objectively determined by the facts stated below. In
  addition all the promises made by USC created binding obligations on
  USC's conduct as stated above, which could affect the Plaintiff by causing
  him financial losses and emotional distress as specifically discussed
  above and below.
  B. Defendant's Conduct resulting in Breach of Implied Contract
  USC has breached its second, third and fourth obligation as stated
  above.
     a) USC treated Daniel unfairly and took unfair advantage of him by
        depriving him of earned Credits in PR 429 class and depriving him of
        getting his degree from USC and unfairly labelling him Dishonest
        with no supporting evidence.

  1. USC used 100% unsupported accusation by Prof. Tenderich against
   him in his SJACS' proceedings.
  Daniel's instructor, Prof. Tenderich, in PR 429 in Fall 2016 Semester on
  October 27, 2016 submitted his complaint against Daniel to SJACS. As
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  alleged supporting evidence he provided a memo, USC IT log, a hard copy
  of Midterm paper, and a forwarded email. In addition on December 16,
  2016, UDC SJACS Judicial Officer Barton, provided a copy of metadata
  picture to Daniel, which he claimed corresponded to PR 429 Midterm,
  PDF file submitted to Tenderich by Daniel on 10/17/2016 11:49:15 PM.
  Tenderich stated in his memo, paragraph seven: "In addition, the pdf
  document he submitted as his midterm has a date stamp of Monday,
  October 17, 11:52:15 AM and therefore seems to have been created six
  days after the date due." The hard copy of PR 429 Miterm had no
  time/date stamp of October 17, 11:52:15 a.m. Tenderich provided no hard
  copy of metadata correspomding to PR429 Mid term, PDF file . SJACS
  claimed a copy of a picture sent to Daniel on December 16, 2016 is
  Tenderich's corresponding metadata and supports Tenderich's claim that
  PR 429 PDF file was originally created on October 17, 2016 and not on
  October 11, 2016.. But metadata provided by SJACS has the creation
  date of PDF file PR 429 Midterm of 10/17/2016 6:52:15 PM. That is not
  the date ~'enderich stated as the alleged supporting evidence in his
  memo.
    Furthermore, Tenderich's memo and IT log state that on 10/17/2016 at
  1 1:56 AM Daniel submitted email to Tenderich, and attached exactly the
  same PDF PR 429 Mid term file, which he later submitted the same day,
  seven hours later at 11:49:15 p.m. Since both files are identical, PR 429
  Midterm.PDF, the metadata provided by SJACS on December 16, 2016
  equally corresponds to the file Daniel submitted to Tenderich on
  December 17, 2016 at 11:52 a.m and the file he submitted seven hours
  later at 11: 49:15 p.m. . Thus, the alleged file creation date supplied by
  SJACS could not represent the original file creation date since a non
  existing file could not have been sent seven hours before its creation.


   Therefore, SJACS should had never been allowed to use that picture,
  which provided absolutely no evidence on original file creation date as the
  alleged supporting evidence of Tenderich's complaint against Daniel . The
  alleged evidence supplied ~y SJACS to support Tenderich's accusations
  against Daniel, that PR 429 Miterm PDF file was created on October 17,
  2016 provides no evidence at all on the original PR 429 PDF file creation.

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  It provides absolutely no evidence that original PR 429 PDF file was
  created on October, 17 2016 and not on October 11, 2016.
  As stated on page 17 of Exhibit A, that. was only possible since file creation
  in metadata could be changed:" But as stated by my witness, verified by
  Adobe and proved by my Exhibits E and F, PDF Document Properties has
  nothing to do with the PDF Document time/date stamp and is subject to
  changes, editions, alterations, etc by a number of mechanisms. Therefore,
  it does not and it can not represent the original document creation date in
  my case".
  Thus, Tenderich made totally unsupported accusations against Daniel
  which is 100°/q unfair treatment and taking unfiair advantage of Daniel by
  USC in clear violation of its promises stated above. Since the
  unsupported accusations made by Tenderich, trigged a USC disciplinary
  process which could deprive Daniel of properly earned credits in PR 429,
  which was necessary for his graduation, it could not only deprive Daniel of
  properly earned credits required for his graduation from USC but also USC
  degree. USC allowed Tenderich to make unsupported accusations since
  he was USC Professor and Daniel's instructor while Daniel was just a USC
  student. That is a blatant violation of USG promises not to treat Daniel
  unfairly and not to take unfair advantage of him, and USC binding
  obligation which could affect the Plaintiff and in fact damaged the Plaintiff
  by causing him financial losses.


    2. SJACS treated Daniel Unfairly and took unfair advantage of Daniel.
 In December 2016 Prof. Tenderich assigned C grade to Daniel in PR 429
 class. On 4/19/2017 Barton sent Daniel his SJACS decision. It states on
 page 3: "Based upon preponderance of the information presented in this
 case, the Office of Student Judicial Affairs and Community Standards finds
 through Summary Administrative Review, that the student is responsible
 for violating section of the Code as listed above." Page one lists the
 sections: 11.21 any act that gains or it is intended to gain an unfiair
 academic advantage... 11.31A : Dishonesty... . It states on page 2, that
 Daniel's duly earned grade C was changed by USC's SJACS to F.



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    USC's decision in fact deprived Daniel not only of duly earned credits but
  also of USC degree/diploma. In addition, page 2 stated that Daniel was
  required to write 4-5 page ethics essay Paragraph five, stated: Further,
  the properties of the PDF document submitted by Mr. Kowbel (referring to
  PDF file Daniel submitted on October 17th at 11:49: 15 p.m.) show a date
  stamp of October 17, 2016, confirming that the document was created six
  days after the deadline for the assignment." That statement is not
  supported by any evidence since as stated above file creation date in
  metadata Barton sent to Daniel on 12/16/2016 could not represent original
  PR 429 PDF file creation date. Therefore, metadata provided by Barton
  provides absolutely no evidence when the original PR 429 PDF was in fact
  created. Thus, SJACS' Barton made his decision affirming unsupported
  Tenderich's accusation having absolutely no supporting evidence to affirm
  such unsupported accusations.
  Thus, SJl~CS changed unfairly Daniel's properly earned C grade to F
  depriving Daniel of earned USC credits required for graduation and USC
  degree. In addition, Barton asked him to write ethics essay with
  ABSOLUTELY no supporting evidence. That is unfair treatment and
  taking unfair advantage of Daniel by USC since Barton was Judicial Officer
  of USC with all the powers vested in him by USC while Daniel was just a
  USC student.
  That is a blatant violation of USC promises to treat Daniel fairly and not
  take unfair advantage of Mim, and its binding obligations, as stated above
  which could affect the Plain#iff and in fact did damage the Plaintiff by
  causing him financial losses.


     3. Daniel's APPEAL.
 Daniel was absolutely APPALED by the unfair treatment he received from
  USC. On December 7th, after interview with Barton, Daniel filed a
 complaint against Barton with SJACS asking for a FAIR Judicial Officer.
 But SJAGS did not even bother to acknowledge his request and allowed
 BARYON to render baseless and not supported by any evidence decision.
 On May 3, 2017 Daniel filed his Appeal, Exhibit A. On page 1 it states:
 "The review process was fundamentally flawed, Biased, Unfair."

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     4. USC Appeal Panel's Decision is totally unfair and took unfair
        advantage of Daniel.
   USC Appeal Panel's Decision, Daniel received from Malhotra, senior
  adviser to Carry on July 29th, 2017. The Appeal Panel, page 1 convened
  on July 17, 2017 to consider Daniel's Appeal discussed above. The
  Appeal Panel, page 3 stated: "The SBAP affirms the conclusions and
  sanctions made by SJACS in case 20160245." The Appeal Panel's
  decision provided absolutely no evidence to support otherwise totally
  unsupported accusations made by Tenderich, and affirmed by Barton with
  no supporting evidence as explicitly stated above. The Appeal Panel
  upheld Barton's decision which had absolutely no supporting evidence as
  stated explicitly above. In fact: it changed Daniel's duly earned grade from
  C to F depriving him of properly earned credits and USC degree. In
  addition, it was affirming Barton's decision forcing Daniel to write a five
  page essay on ethics. That was the ultimate USC unfairness to use
  unsupported accusations against Daniel by Tenderich, and totally reject 33
  page factual Appeal Daniel submitted on May 3, 2017 and deprived him of
  duly earned USC credits and a USC degree. If Daniel had the earned
  credits for PR 429 he could graduate from USC.
   In addition, the Appeal Panel's Decision totally ignored the evidence
 provided in Daniel's Appeal that the whole SJACS' interview process was
 fundamentally unfair, section I of the Appeal " Mr. Barton conducted unfair
 and biased interview", pages 6 to 7. Specifically page 7 states: " My father
 called SJACS asking how Justice can be served at SJACS. He was told
 have the right to replace Mr. Barton with another impartial Judicial Officer
 but I have to make it in writing. I made very specific request in my
 complaint sent to SJACS on Dec. 7th asking SJACS to replace Mr. Barton,
 who has proven during the interview as totally unfair and biased....Mr.
 Barton has shown in his Summary exactly the same pattern as identified in
 my complaint, 100% biased and unfair review. Only 100% wrong decision
 could result based upon his conduct in blatant violation of USC policy on
 fairness". Page 9 states: "When I asked within my full rights as a USC
 student to present me with any evidence during the interview, Mr. Barton
 stated: You need no evidence just to say the truth. That is a highly
 UNFAIR treatment to simply imply you are a LIAR and no evidence is

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 needed". Page 29 of Daniel's Appeal stated:" Under no circumstances
 PDF Document properties file creation date can provide evidence that the
 original file was not created on October 11th in my case based upon the
 undisputed record. On the hand, the PDF Document time stamp/date
 stamp could had never be changed and it would indeed provide evidence if
 the original file was or was not created on October 11th. Therefore the
 totality of evidence 100% dis proves Prof, Tenderich's second claim and
 the preponderance of evidence is 100% in my favor on the second claim
 since there is no evidence on the second claim provided by Mr. Barton
 and Prof. Tenderich". Section III A " Mr. Barton grossly committed gross
 negligence amounting to reckless conduct in his total failure to follow due
 diligence as the mandatory requirement of fair and impartial interview",
 pages 14 to 19 provided additional evidence on unfairness. Page 19
 states: "That was absolutely flawed process, which was solely used by Mr.
 Barton to exonerate himself and Prof. Tenderich against charges filed by
 my Father with USC Provost Office. The only way Judicial Officer Barton
 could had exonerated himself and Prof. Tenderich is to act in reckless
 disregard of the truth. That is exactly what happened in this review
 process. USC, implied in fact, fairness standard prohibits Mr. Barton
 simply to say IT IS IMMATERIAL only because he did not want to
 understand it so INJUSTICE can be served in my case in order to help
 himself and Prof. Tenderich in my Witness complaints against them. That
 is 100% Unfair, Biased and Flawed review process".
 Since USC Appeal Panel decision was final within USC, it in fact finally
 deprived Daniel of his earned USC credits required for his graduation from
 USC and USC degree.
 That was ul#imately unfair treatment of Daniel aid taking unfair advantage
 of him by USC Appeal Panel, with all the Powers USC President vested in
 them per USC regulations while Daniel was just a USC students with
 absolutely no powers at USC to seek a FAIR treatment at USC.
 That is blatant violation of USC's promises not to treat Daniel unfairly and
 not to take unfair advantage of him, which was binding obligation on USC
 as stated above which could affect the Plaintiff as stated above and in fact
 did damage the Plaintiff by causing him financial losses associated with
 paying $455, 00 for aaniel's education at USC.

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     b) USC has utterly failed to follow its strict, mandatory publicly stated
        policy on preponderance of evidence, SCC 10.11.1 and 15.04 in
        Daniel's SJACS cage.


     1. USC per its publicly stated policies was required to follow its
        preponderance of evidence standard in reaching its initial decision
       SCC 10.11.1 , and its ~#ppeal Panel's Decision SCC 15.0 .
 USC Student Conduct Code policy defined that standard as:
 "Preponderance of evidence means that based upon totality of evidence
 and reasonable inferences drawn therefrom, it is more likely than not that
 the Respondent committed the prohibited conduct charged."


    2. In its initial SJACS' decision, Barton was required to use
       preponderance of evidence standard to reach his decision.
 Daniel's Appeal, Exhibit A, section III A, pages 14 to 19 and section VII,"
 Mr. Barton violated USC Student Conduct Code Section 10.11.2 Standard of
 Proof'. Pages 26 to 30 provide direct evidence that Barton has utterly
 failed to apply this standard. As stated above, Barton on page 3 of his
 decision claimed to uphold preponderance of evidence USC standard.
 Page 29 of Daniel's Appeal states: " As 100% proved in section Ilia,
 Exhibit C file creation date of October 17, 6:52:15 p.m. can not represent
 the original file creation date. As the matter of undisputed facts, there is
 absolutely nQ evidence on the record t~ support Prof. Tenderich's
 conclusion that my PR 429 Mid Term PDF was not created on October
 1 1t'' ". Using absolutely no evidence to support Barton's decision directly
 violated USC preponderance of evidence standard as stated above.
 Barton's decision to change Daniel's C grade to F deprived him of required
 credits for his graduation and USC degree. Therefore, USC explicitly
 violated its promise, which was binding obligation as stated above which
 could affect the Plaintiff as stated above and in fact it did damage the
 Plaintiff by causing him financial losses.



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     3. In its Appeal Decision, USC was required to use the same
        preponderance of evidence standard which Barton was required to
        use in his initial decision, SCC section 15.04.
  USC Appeal Panel's decision, totally ignored all the undisputed evidence
  presented in Daniel's Appeal, Exhibit A.. It makes absolutely no mention
  of any direct evidence, sections III and VII of the Appeal, 100% proving
  that Barton failed to apply that standard in reaching his 100% unsupported
  decision. Pages 26 and 27 of Daniel's Appeal stated:" As a matter of
  undisputed fact, Mr. Barton in his Summary omits the critical second claim
  Prof. Tenderich made against, PDF Document dare stamp of 11:52:15
  a.m, and the full date in Exhibit C, October 17 6:52:15 p.m. In terms of any
  evidence he only states my USC IT email as any evidence supporting my
  case. He utterly disregards my Witness two affidavits and all other material
  evidence stated above properly submitted to SJACS. Prof. Tenderich's
  complaint against me has two basic claims: sent email allegedly proving
  did not submit my original mid term report to Prof. Tenderich on October
  11th, alleged date stamp again allegedly proving I did not submit my Mid
  term report to Prof. Tenderich on October 11 to
  On the first claim Prof. Tenderich provides just one evidence, USC IT fog.
  It is missing the October 11t'' entry of my original submission. Just the mere
  fact that IT log does not contain the October 11th entry, is used as the
  evidence to prove that the email in question was never sent. As discussed
  above I provided the following evidence to 100% dis prove Prof.
  Tenderich's first claim.
  My Witness Affidavit I presented undisputed evidence which clearly
  established the following facts: the email system is not 100% reliable, it
  can be affected by a plethora of internal and eternal factors resulting in the
  actual sent email not reaching the intended recipient. The above
  presented summary of undisputed evidence presented by my Witness and
   clearly established preponderance of evidence in my favor on Claim I".
  Page 29 of Daniel's Appeal stated:" As 100% proved in Section tllA: if the
  original file was in fact created on Monday October 17 6:52:15 p.m. per
  Exhibit C, IT COULD HAD NOT been sent to him on Monday October 17tH
  at 11"56;15 a.m. That fact is 100% supported by the factual and
  documentary evidence... Under no circumstances PDF Document

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  properties file creation date can provide evidence that the original file was
  not created on October 11th in my case based upon the undisputed record.
  On the hand, the P~F Document time stamp/date stamp could had never
  be changed and it would indeed provide evidence if the original file was or
  was not created on October 11th. Therefore, the totality of evidence 100%
  dis proves Prof. Tenderich's second claim and the preponderance of
  evidence is 100% in my favor on the second claim since there is no
  evidence on the second claim provided by Mr. Barton and Prof.
  Tenderich".
   Therefore, USC Appeal Panel has utterly failed to apply the required USC
  standard by not taking into considerations and rejecting all the evidence on
  the record proving that Tenderich's accusations have absolutely no factual
  support as stated above.
  Since USC Appeal Panel's Decision was final within USC it deprived
  Daniel of earned credits required for his graduation and UDC degree. That
  is a USC's blatant violation of its preponderance of evidence standard and
  its binding obligation as explicitly stated above which could affect the
  Plaintiff and in fact did greatly damage the Plaintiff who suffered $455,000
  financial loss since USC deprived Daniel of his USC degree.


     c) USC's unfairness, taking unfair advantage of Daniel and failure to
        follow its policy on Student Conduct Code in a fair manner affected
        the Plaintiff in a highly negative way and damaged him.
  The unimaginable unfairness in blatant violation of USC Code of Ethics
  promise " we do not take unfair advantage of anyone" and very specific
  promise made by USC in Spring 2013 to the Plaintiff, never treat Daniel
  unfairly, by depriving Daniel of USC credits and USC degreeldiploma and
  asking him to wri#e 5 page essay wi#h absolutely no supporting evidence
  brought Daniel to a clearly critical suicide stage. USC's despicable
  unfairness and violation of USC specific Student Conduct policies in its
  treatment of Daniel, in total violation of USC promises, has caused the
  Plaintiff the loss of $455,000 paid for his education at USC and huge
  continuing emotional distress as directly related to USC bringing Daniel to a
  critical suicide stage. Even, if the Plaintiff paid unjustly USC one more
  time for PR 429, Daniel's mental state directly created by USC breach of
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  implied in fact binding obligations would had never allowed him to take this
  class again and write the 5 page essay on ethics in light of despicable
  and unimaginable UNFAIRNESS USC inflicted on him without huge risk of
  triggering committing suicide. Therefore, USC's conduct as described
  above resulted in the net loss of ~455,O~U to the F'lainti~f. U~~ degree was
  the reason Plaintiff has paid $455,000 for his son's educational expenses
  at USC, but USC failure to comply with its obligations as stated above in
  fact deprived Daniel of his USC degree/diploma and directly caused the
  Piaintifr' a ioss of $~~5,~u0.


  C. Plaintiff's performance under implied contract
  Plaintiff has 100% performed under implied contract by the following facts:
  Plaintiff has paid USC $211, 000 for his son tuition and fees.
     )
     i      in total the Plaintiff has paid $455, 00 for all his son educational
           expenses at USC following USC offer made to the Plaintiff by
           sending his son to USC.


  D. Causation between USC breach of implied contract and Damages to
  the Plaintiff.
  USC breach of three implied in fact contractual obligations to the Plaintiff
  is a direct result of damages suffered by the Plaintiff.
  u5c, breach of"implied in fact contract is highly material. Fiainiiff did nod
  get at ALL what was promised by USC to him in the above stated three
  implied in fact promises on which the Plaintiff had predicated sending his
  to USC, paying USC for his tuition and fees and, paying for all other
  ~~uc;atia~iai ~~~er~5c5 ai UDC.


  E. Damages
  Plaintiff has suffered monetary damages totaling $455,000 since USC
  deprived Daniel of his degree which was the sole reason, Plaintiff has paid
  all the educational expenses for Daniel. Also implied contract breach by
  USC resulted in great emotional distress of Plaintiff, causing near
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  irreparable injury on a number of occasions ,which continues up to date,
  inflicted on him by USC Breach of implied contract which directly brought
  Daniel to a suicide stage in the totally unfair manner.




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                                EXHIBIT A




       Daniel's Appeal filed with USC on May 3,2017
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               APPEAL of the Initial Review Decision.

              A. Opening statement.


   This Appeal is pursuant to Section 15 of University Student
   Conduct Code.

   The ground for the appeal is in section 15.02 III. The review
   officer has failed to follow university rules and regulation
   while reviewing the cited behavior. The net result: THE REVIEW
   PROCESS WAS FUNDAMENTALLY FLAWED, BIASED, UNFAIR; FRAUD.

   Mr. Barton's Summary Administrative Review (Summary) IS
   UNDISPUTED FRAUD under US LAWS which USC MUST follow and it
   blatantly violates USC own Code of ETHICS. In order to prove the
   case against me, in Favor Of Prof. Tenderich's complaint, Mr.
   Barton first grossly falsified the actual complaint. He
   intentionally OMITS Prof. Tenderich's second claim against me.
   That act was made with undisputed intent to deceive, FRAUD
   UNDER US Law. Then Mr. Barton falsified the self-produced, not
   part of the review process, PDF Document Properties by
   intentionally omitting the full date in the PDF Document
   Properties, which is absolutely critical to proving the case in
   my favor. As the matter of undisputed facts, USC policy on
   Fairness required SJACS Judicial Officer Barton to present all
   the facts in his Summary. Thus Mr. Barton, on his own admission
   disqualified himself from having any standing in this case, and
   ADMITTED that the review process is undisputed FRAUD since he
   committed undisputed FRAUD,




   The appeal provides factual evidence 1000 proving the reviewing
   officer GROSS failures. It is NOT JUST THE CASE of a mistake
   BUT IT is a CASE OF AN UNPRECEDENTED BIAS And UNFAIRNESS AGAINST
   ME in a BLATANT VIOLATION OF THE FUNDAMENTAL PRINCIPLES OF
   JUSTICE AND FAIRNESS AT USC.

    The evidence used by me in my the APPEAL is based upon           the
   factual and documentary evidence on the record.



   As the matter of undisputed fact, I have submitted a large body

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   of evidence both factual and documentary directly to SJACS after
   December 7th interview including two Witness Affidavits.    I have
   never received any  communication from SJACS to even merely
   confirm the receiving of my evidence which clearly is a
   violation of USC POLICY ON FAIRNESS.
     My Witness was never contacted by SJACS for the interview
   which is implied in fact standard at SJACS. Again it is a
   blatant violation of USC POLICY on FAIRNESS.


    Mr. Barton not only disregarded all my Witness factual evidence
   but refers to my Witness factual evidence as a "Perspective"
   which is not only deeming to my WITNESS AND FAIRNESS at USC
   BUT also 1000 Unfair and BIASED. The fact that my Witness is
   my Father, Dr. Witold Kowbel who has discovered all the
   wrongdoings of Mr. Barton in violation of USC rules and policies
   in his handling of my case including blatant violation of USC
   Code of Ethics, submitted the evidence to the USC Provost
   Office, who passed it on Mr.Barton should have had absolutely no
   IMPACT on TREATING my Witness without    Fairness and
   Impartiality, but with infinite BIAS AS 1000 proved by calling
   his FACTUAL EVIDENCE, directly related to my case ~~PERSPECTIVE".
   It is clearly a CONTEMPT and PREJUDICE for my WITNESS derived
   from the fact, that my witness named Judicial Officer Barton, a
   Perpetrator in numerous charges against Mr. Barton and named me
   as the witness against Mr. Barton in the letter he submitted to
   SJACS which I followed up on. Under no circumstances these
   undisputed FACTS should had any negative IMPACT on this CASE
   per USC POLICY on FAIR and Justice. But they did, because Mr.
   Barton's conduct showed his unprecedented BIAS against me and my
   Witness in violation of USC Policy on Impartiality of the review
   process.

     Subsequently, Mr. Barton also disregarded all my Material
   evidence both FACTUAL and Documentary as totally IRRELEVANT to
   the case in his Summary Which is 1000 consistent with the BIAS
   and UNFAIRNESS he demonstrated during the interview.

    He does not provide one single explanation why ALL the massive
   body of UNDISPUTED factual and documentary evidence supplied by
   my witness and I is immaterial to this case (no natural tendency
   to affect the outcome of the case as defined by US SUPREME
   COURT). That is a BLATANT violation of due process at USC which
   makes FAIRNESS and IMPARTIALITY of the review the cornerstone of
   USC overall policy on FAIRNESS AND JUSTICE for ALL its STUDENTS.


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   In addition Mr. Barton showed on Dec. 7th unprecedented BIAS and
   Unfairness against me as well as violation of USC CODE OF
   ETHICS by harming me by his outrageous conduct which I reported
   in my email to SJACS on Dec. 7tn.

   Since SJACS has never corresponded with me after Dec.l6th, it was
   a big concern to me. At the same time USC PROVOST was in active
   communication with my FATHER and stated to him that his
   correspondence is forwarded to SJACS. Therefore, my FATHER
   sent to USC PRVOST OFFICE the summary of all my evidence
   submitted by me by SJACS, which per USC PROVOST statement was
   forwarded to SJACS.

   Subsequently my FATHER asked USC PROVOST OFFICE, if any
   additional information is needed. The answer was, none.

   AS the matter of FACT my Father submitted undisputed evidence to
   USC PROVOST OFFICE in support of numerous charges against Prof.
   Tenderich and Judicial Officer Barton to support his complaints
   against both of them, including but not limited to the following
   charges:

      i)     Prof. Tenderich committed prohibited Act of Dishonesty in his complaint.

      ii)    Prof. Tenderich violated USC code of Ethics by committing prohibited act of
             making deliberate misrepresentation in his complaint.

      iii)   Judicial Officer Barton committed prohibited ACT of dishonesty in his review.

      iv)    Judicial Officer Barton violated USC Code of Ethics by committing deliberate
             misrepresentation in his review.

   My father initial complaints were originally filed with USC
   VICE Provost, Dr. Grady and USC VP for Student Affairs, Dr.
   Carrey. In January USC PROVOST OFFICE officially informed my
   father that they take the sole JURISDICTION over all his
   complaints. Subsequently USC PROVOST OFFICE, informed my father
   all his correspondence is being forwarded to SJACS.

   Thus, as the matter of undisputed facts, my FATHER complaints
   and his direct correspondence with USC Provost Office became a
   part of this review process.

   THUS, M. Barton had the actual knowledge that he is named a
   PERPETRATOR in my father complaints but he has refused to
   excuse himself from being a reviewing officer, which was the

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   only one for      USC to prevent the fundamental conflict of
   interest.

   THAT FACT by ITSELF rendered the review process fundamentally
   flawed, BIASED and UNFAIR. No justice in this case could have
   ever been served when Mr. Barton, named as a perpetrator, was
   allowed to review the case and make the DECISION on behalf of
   SJACS in this case.

   His so -called preponderance   of evidence statement is made in
   clear violation of USC regulations by 1000 rejecting the
   Totality of evidence and using False Statement, Deliberate
   Misrepresentations and a FRAUDULENT Conduct to draw his
   conclusions and inferences.   Since SJACS has never confirmed
   receiving my evidence, in order for JUSTICE to be served my
   father sent to USC PROVOST Office a list of all the evidence
   submitted by my me to SJACAS. Per USC PROVOST OFFICE earlier
   statement they were forwarding all his correspondence to SJACS.
   In order to further assure JUSTICE is served in this case, my
   father asked USC Provost Office, if any other information is
   needed. My father got an email from USC PROVOST OFFICE stating
   no other information is NEEDED.

   Thus as the matter of undisputed facts,

      i)    SJACS received all my evidence

      ii)   SJACS understood all the evidence and in the name of JUSTICE needed no
            clarifications.


     Since I am invoking Section 15.2.III and Mr. Barton/SJACS is
   allowed to respond to my APPEAL, all evidence both FACTUAL and
   Documentary which is NEEDED to PROVE my APPEAL is on SJACS
   case file.

      The only part of my APPEAL which could be contested BY Mr.
   Barton AS THE MATTER OF FACT IS MY ACCOUNT of the interview.
   But as the matter of the fact I had submitted my complaint to
   SJACS on Dec. 7th to provide objective evidence of the UNFAIRNESS
   and harming conduct of Mr. Barton. Therefore regardless what
   response Mr. Barton will provide to defend his UNFAIR Conduct
   the record SPEAKS FOR ITSELF. There is absolutely no evidence
   (false and fraudulent statements are NOT EVIDENCE) on the record
   to prove charges made by Prof. Tenderich in his complaint
   against me. Mr. Barton's UNFAIRNESS is the best exemplified by


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   using a deliberate misrepresentation to falsify the actual
   complaint ( intentionally omitting key evidence is
   Falsification with intent to deceive, FRAUD) in order to
   FRAUDULENTLY PROVE IT. That summarizes this review process the
   best.

   ALSO under USC RULES Prof. Tenderich is allowed to reply to my
   Appeal.

   If Prof. Tenderich confirms that Mr. Barton's PDF Document
   Properties Exhibit C creation date is what he falsely referenced
   as a "date stamp"    in his complaint. HE WILL ADMIT that HE
   COMMITTED a FRAUD UNDER US law by intentionally LYING in his
   complaint. THE FRAUD under US law is a USC PROHIBITED Conduct
   of a DELIBERATE misrepresentation.




   Judicial Officer had absolutely no standing under USC Fairness
   policy to be ever allowed to review this case and make the
   decision in this case.

    SINCE SJACS HAD NEVER REPLIED to my complaint to contest my
   charges of UNFAIRNESS and HARM, it is IMPLIED IN FACT THEY 1000
   agreed with my charges stated in the complaint. Therefore SJACS
   admitted that Mr. BARTON's conduct during the interview
   violated ALL USC policy on JUSTICE.

   The reviewing officer, Mr. Barton has violated not only
   University Student Conduct Code Rules but also USC Policy on
   Dishonesty and Code of Ethics.

   USC Officially states that CODE OF ETHICS is the GUIDING
   principle of ITS operation.

   Blatant violation OF USC CODE OF ETHICS was committed by
   Judicial OFFICER BARYON in at least three instances identified
   below and fully proven in the APPEAL.

   Using deliberate misrepresentations to Fraudulently prove the
    complaint against me by the following acts:

      i)   Use a deliberate misrepresentation to fraudulently prove the complaint


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      ii)    Use a fraudulent misrepres entation to hide the truth that Prof. Tenderich
             blatantly violated USC CODE of ETHICS in his complaint

      iii)   violated USC Code of ETHICS in his email sent to me on December 16tH

   Therefore, Mr. Barton's conduct is not only 1000                       Unfair to me
   in the review but he is using a PROHIBITED CONDUCT in blatant
   violation of USC Code of Ethics during his review of the case.

   MY EMAIL SUBMITTED TO SJACS on February lst provided undisputed
   evidence on the following:

      i)     Prof. Tenderich intentionally fabricated a MATERIAL LIE on the date stamp to
             fraudulently prove his complaint against me.

      ii)    Mr .Barton statement in his email sent to me on Dec. 16th is patently false
             statement , in fact a deliberate misrepresentation.

   Like ALL other evidence (but USC IT Email) which I provided, and
   all the factual evidence provided by my Material Witness, my
   email submitted to SJACS on February 1St, was 1000 dismissed by
   Mr. Barton.
   Unlike, Mr. Barton's summary, I am providing factual and
   documentary evidence to prove that the review of my CASE was
   1000 flawed, biased and unfair.  Unlike Mr. Barton's review of
   the case and his summary I do not make any false statements or
   commit any misrepresentations or USE FRAUDULENT CONDUCT to
   prove my APPEAL.

   Below I am providing the specific USC rules and Policies which
   were GROSSLY violated by Mr. Barton with the supporting factual
   and documentary evidence. My APPEAL 1000 proves that a
   fundamentally wrong decision based upon the evidence on the
   record, and any inferences which can be drawn from the evidence
   was reached.

                B. Factual and documentary evidence on the record supporting Mr. Barton's
                   violations.


      I.       Mr. Barton Violated of section 10.30 IV of University Student Conduct

   Section 10.30. IV states: fair and impartial review of the
   incident.



      A. Mr. Barton conducted unfair and biased interview on December 7th

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   The first violation of this section occurred During the
   interview with Mr. Barton on December 7tn

   On December 7th after the interview I filed an official
   Complaint, and stated: the meeting was one sided attack on me
   with the total disregard of the due fairness process and I was
   very sick after the meeting, implied in FACT Mr. BARTON's
   conduct greatly harmed me. Since Mr. Barton in his email to me
   on Dec. 16th, refers to my request on the TIME Stamp, as the
   matter of fact he acknowledged reading my complaint.

      B.      Mr. Barton refused to exclude himself from my case which was the only way to
            assure compliance with section 10.30 IV. HE ALSO VIOLATED USC OF ETHICS by
            intentionally harming me during the interview.

   After the disastrous interview on Dec. 7t'' as stated in my
   complaint I was very sick. Since USC CODE OF ETHICS STATES: we
   do not harm" I called my FATHER to express my OUTRAGE of total
   INJUSTICE INFLICTED on me by Mr. BARYON in the violation of USC
   CODE OF ETHICS. MY FATHER called SJACS asking how JUSTICE BE
   SERVED AT SJACS. HE WAS TOLD I HAVE THE RIGHT TO REPLACE Mr.
   BARYON with another IMPARTIAL JUDICIAL OFFICER but I HAVE TO
   MAKE IT IN WRITING.

    Following the conversation with my FATHER, I made very specific
   request in my complaint sent to SJCS on December 7th asking
   SJACS to replace Mr.Barton who has proven during the interview
   as totally unfair and biased.

   But Mr. Barton has refused to exclude himself from the process
   to permit USC FAIRNESS and JUSTICE to be served. Obviously he
   has violated SJACS RULES passed on my FATHER and VIOLATED MY
   RIGHTS as the USC student to HAVE FAIR AND IMPARTIAL REVIEW.

    My complaint was sent to SJACS not to Mr. Barton and neither
   5JASA or Mr. Barton never even acknowledge the mere receipt of
   my email not to mention any response required under USC Fairness
   policy.

   Mr. Barton has shown in the Summary EXACTLY the same pattern as
   identified in my complaint to SJACS on December 7th, 1000 BIASED
   and UNFAIR review. Only 1000 wrong decision could result based
   upn his conduct in blatant violation of USC policy on fairness.

      II.       Violation section 10.30 VII of University Student Code



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   This section states: the opportunity to be present at the
   interview, to inspect all the evidence presented and to present
   witnesses.


      A. Mr. Barton failed to provide me with all the evidence prior to the interview .

   On November 14th, I sent an email to SJACS demanding SJACS to
   comply with USC Policy on Fairness and to provide me with ALL
   the evidence submitted by Prof. Tenderich and the actual
   complaint. My interview with SJACS was on December '7tn.

    Mr. Barton sent me on December 6th all the evidence on the
   SJACS record. There was absolutely no evidence provided by Prof
   Tenderich on his time stamp/date stamp claim. It was 1000
   unsupported allegation. The fact that Mr. Barton submitted the
   complaint and the evidence just few hours before the interview
   1000 prevented me from properly reviewing it and getting READY
   for the interview.

   It is highly unfair not            to allow me to be properly prepared for
   the interview.

      B. Mr. Barton failed to provide me with all the evidence at the interview per my specific
         request.

   Mr. Barton provided no evidence during the interview to allow me
   to ask him any clarifying questions so I can fully understand
   the accusations against me with the evidence supporting it. He
   merely read the complaint several times and asked me several
   questions about the TIME STAMP. HE had never mentioned PDF
   DOCUMENT PROPERTIES UNTIL the email he sent me on December 16tH.

   Again, not providing any evidence during interview so I could
   inspect it is highly UNFAIR.

      C. Mr Barton up front refused during the interview to provide with any evidence on the
         time stamp.

    As I stated in my complaint SJACS JUDICIAL OFFICER Barton
   REFUSED to FOLLW strict USC guidelines on Fairness and simply
   REFUSED to provide any evidence on the time stamp during the
   interview. Since he asked me so many questions on the TIME
   STAMP I specifically asked for any evidence during the interview
   so I can address this issue properly but my efforts were in
   vain. No evidence was ever shown to me on the TIME STAMP
   during the interview. Not a single question during the interview

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   was on PDF DOCUMENT PROPERTIES.

   After the interview, I concluded that simply SJACS has
   absolutely no evidence on the time stamp based upon the
   following facts:

   If such evidence indeed existed Barton would provide it with ALL
   the evidence he provided to me on December 6th

   If SJACS had any evidence on the time stamp                  Barton would be
   able to provide it to me at the interview .

   Again USC rules on Fairness were not followed.




      D. Mr. Barton Stated during the interview that I need no evidence.

   When I asked within my FULL RIGHTS as a USC student to present
   me with any evidence, during the interview (I simply had
   absolutely no time to properly review the complaint and the
   evidence since I received it just shortly before the interview)
   Mr. Barton stated: You need no evidence just to SAY THE TRUTH.

   That implied in fact statement: You are a LIAR was a big
   triggering factor in the anxiety attack I had during interview
   as stated in my complaint.

   That is a highly UNFAIR treatment to simply IMPPLY you are a
   LIAR and no evidence is needed.

      E.   Mr. Barton mentioned no evidence on the PDF Document Properties.

   During the interview Mr. Barton asked me questions on when I
   inserted the TIME STAMP to my PDF document.

   Since I have never inserted any TIME STAMP to my MidTerm paper,
   I naturally demanded during the interview any evidence that in
   fact my PDF Mid Term has any TIME stamp.   I got no evidence on
   the time stamp, As the matter of FACT, Mr. Barton also has
   never showed me any PDF Properties Metadata with a creation date
   at the interview or mentioned its mere existence or its
   relevance to the case.

   The only valid conclusion he had no PDF Mid Term Properties on
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   actual SJACS file during             December 7 th interview.

   Again, Mr.Barton violated USC policy on Fairness to present me
   with any evidence on file regarding the PDF Document Properties.



      F.    Mr. Barton intentionally withholding the evidence any evidence the time stamp until
           USC VP for Student Affairs informed SJACS, cc to me, on December 15th about my
           Father, Dr. Witold Kowbel complaint filed with USC Vice Provost, Dr. Graddy on
           December 10~ and acting in RECKLESS DISREGARD of the TRUTH

     It is undisputed FACt that SJACS had not presented me with any
   evidence on the time stamp during the interview or before it.
   Therefore after the interview, the complaint's claim on the
   time stamp/date stamp was a 100% unsupported allegation. In my
   complaint submitted to SJACS on December 7th, I demanded from
   SJACS to provide evidence on the time stamp referred to in the
   interview, also referred by Prof. Tenderich in his complaint as
   date stamp. It was agreed during the interview that I would
   submit all the evidence to SJACS on December 16th. On December
   10 th, my father, Dr. Kowbel using all the SJACS validated
   evidence on the record sent a complaint against Prof Tenderich
   to a USC OFFICIAL, Dr. Graddy, A USC
   VICE PROVOST for Academic and Faculty Affairs against Prof.
   Tenderich for committing undisputed FRAUD within the meaning of
   US governing laws based upon SJACS validated evidence, which
   would be the only COURT admissible evidence. My Father clearly
   stated that it could had been be a criminal FRAUD committed by
   Prof. Tenderich. I attached this complaint as the evidence in my
   email to SJACS on December 22 nd.



   On December 15th, USC VP for Student Affairs, Dr. Carrey cc me on
   the email sent to SJACS HEAD, Ms. Budar-Turner informing her
   about my Father's complaint.

   One day after my father's complaint, Mr. Barton sent me an email
   with his alleged PROOF of the time stamp.

   It was a computer screen picture with absolutely no SJACS stamp
   validating it as a part of SJACS record, Exhibit C.

   The picture had a description "PDF Document Properties".
   Clearly it did not say    PDF Document time stamp as I
   specifically requested in My complaint, dated Dec 7th ( inserting
   the time stamp into my Mid Term was the key issue Mr. Barton

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                                                     provide any
   asked me in the inte rview.) Mr. Barton did not
                                                        on the time
   explanation how his picture provides the evidence
                                                  into  any pages of
   stamp since there was no time stamp inserted
                                                              dated
   the document as clea rly stated in my father complaint,
                                            by USC VP  of  Stude nt
   Dec. 10th, which was forwarded to SJACS
                                                              case
   AFFAIRS, Dr. Carrey on Dec.l5th and became part of SJCS
                                                            to explain
   record. In light of that complaint he was obligated
                                                       ent  and why his
   how that picture was ever inserted into the docum
                                                           include that
   EMAIL, Dec. 6th with ALL evidence against me did not
                                                pictu re is  not SJACS
   picture. Also he did not explain, why his
                                                               what USC
   v alidated, received October 27t'' SJACs date stamp, and
                                                         SJACS
   authority he had to take a picture himself outside
   evidence and CALL it ALLEGED EVIDENCE.

                                                         Truth.
   Mr. Barton acted with total Reckless Disregard of the

                                                         ll policy
   As a JUDICIAL OFFICER , he was required by USC overa
                                                       d above to
   of FAIRNESS and specifically section 10.30 IV state
   show DUE DILIGENCE and determine the following:

                                                                                  nt
      i)     Is PDF Document TIME STAMP/date stamp meaning the same as PDF Docume
             Properties

      ii)    If not, what are the differences

      iii)   How these differences can affect the outcome of the case
                                                  N 1000 ACTED in
   As proved in the following sections, Mr. BARYO
                                               Patently FALSE,
   RECKLESS DISREGARD of the truth, and a MADE
                                                  policy on
   HIGHLY MATERIAL FALSE statement, VIOLATING USC
   DISHONESTY.

                                                   tionally withhold
   In addition Mr. Barton was not allowed to inten
                                                    rich with his
   from me any information furnished by Prof. Tende
                                                  tted such a
   complaint, if indeed Prof. Tenderich had submi
   picture with his complaint on October 27th.

                                                    rich   would
   Withholding any material supplied by Prof. Tende
                                    which clear ly is a  viola tion of
   amount to concealing of evidence
   FAIR and Impartial review.

                                                   that his
   ALSO, Mr. BARYON FAILED to understand the fact
                                                      ated BY SJACS
   introduction of inadmissible evidence as not valid
                                                   with Justice.
   in the case of FRAUD is an attempt to interfere
                                               prove a case against
   Using a picture to potentially fraudulently
                                                 falsified is a
   me, with no validation, which could easily be
                                               revie w EVER be fair
   serious issue for Mr. Barton. HOW can this

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   and just if the reviewing OFFICER can do anything he wants,
   feeling he has unlimited powers over USC students because HE IS
   a SJACS JUDICIAL OFFICER. THAT IS TOTAL UNFAIRNESS TO ME and
   represents 100% flawed review process. In addition it is a clear
   violation of USC CODE of ETHICS by taking UNFAIR ADVANTAGE of me
   as a USC STUDENT and the power he had over me as SJACS JUDICIAL
   OFFICER.



   Under this review, Mr. Barton had unlimited and unchecked POWERS
   to take a picture at his own discretion, with the total
   disregard of implied in fact SJCACS admissibility standards and
   then call it EVIDENCE against me. THAT IS NOT JUST AND FAIR
   CONDUCT, which Mr. BARYON was required to UPHOLD.

   SJACS clearly has IMPLED in FACT admissibility standards which
   MUST be incumbent on Mr. Barton for the review process to be
   fair and impartial. These standards were followed in his email
   on Dec. 6tn.
   For the purpose of this APPEAL I am using implied in fact
   standards for SJACS EVIDENCE to be admissible; it MUST have the
   SJACS RECEIVED date stamp and must be kept in the case binder.
   ALL evidence (factual and documentary) sent to me by Barton on
   Dec. 6th meets this implied in fact admissibility standard, but
   the picture he sent me on Dec. 16th failed to meet implied in
   fact admissibility standard. He never stated in his Summary, he
   is using a picture, with no validation in place of documentary
   evidence supplied by Prof. Tenderich with Proper SJACS
   validation.




        G. Mr.Barton failed to mention in summary that In fact have a WITNESS who submitted
           two AFFIDAVIT

   Per section 10.30 IV stated above I have the right to a WITNESS.
   But in his Summary Mr. Barton failed to mention my right and the
   fact that I submitted two witness affidavits two SJACS. He
   violated my rights as a USC Student to conceal the truth in
   order to FALSELY prove the complaint.


        H. Mr. Barton failed to comply with SJACS implied in fact policy on witnesses by never
           treating my MATERIAL Witness per USC policies on witnesses and denying him SJACS
           interview .

   My     Witness sent       three emails to SJACS clarifying his Witness

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   status and rights as the Witness. My Witness clearly stated
   that SJACS policy on Witnesses is to arrange for an interview.
   My Witness prior to writing his AFFIDAVITS contacted directly
   SJACAS OFFICE. They stated to him, ALL SJACS Witnesses are
   always interviewed by SJACS.   My Witness stated that SJACS has
   never contacted him and he had informed USC Provost Office about
   that fact since his complaints against Mr. Barton and Prof.
   Tenderich at the time were handled directly by USC Provost
   OOFICE.

   My Witness also sent to SJACS an email, clarifying he is a
   Material Witness not AN EXPERT WITNESS. He emphasized the
   absolute criticality of HIS ACTUAL KNOWLEDGE in this case and
   offered to have an interview with SJACS so JUSTICE CAN BE
   SERVED.


   THREE is a fundamental difference between Expert Witness and
   Materia Witness.

   An EXPERT WITNESS expresses his opinion, and Mr. Barton could
   take an exception to an OPINION, but to refer to a bona fida
   Material Witness FACTUAL AFFIDAVITS as ~~persepective" in
   principle disqualifies Mr. Barton to have any standing in this
   case. THERE is no room at USC to tolerate such BIAS and turned
   SJACS initial review into a Totally FLAWED PROCESS as it
   happened in my case. Furthermore, Judicial Officer BARYON
   violated SJACS rules by intentionally not allowing my Witness
   to provide any additional information. My Witness had a
   significant Experience under USC FEDERAL District Courts as both
   MATERIAL and EXPERT Witness. His affidavits contained no
   clarifications just mere FACTS.

   Depriving my Witness of his right to provide any clarification
   on his Factual Evidence again proves the total Unfairness of
   the review and again greatly undermined impartiality of this
   review.

    It is undisputed fact, that Mr. Barton was 1000 motivated          by
   his self -interest not interview my witness.

   Since my witness named Mr. Barton as a Perpetrator in his
   complaints, there was a FUNDAMENTAL conflict of interests
   barring impartiality of this review. Any additional
   information attained during my Witness interview, which could
   help my case, would be additional evidence against Mr. Barton.

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   Impartiality of this process could had never been achieved when
   Mr. Barton did not exclude himself from the review of this case
   and made the decision while being named a perpetrator.
   Specifically, My Witness affidavit addresses two fundamental
   problems for Mr. Barton.

      i)    My Witness direct contact with Adobe confirmed the FACT a digital picture can be
            FALSIFIED. For Mr. Baton to be allowed to attach it as evidence by itself
            undermined this review process.

      ii)   My witness in direct contact with Adobe confirmed that Mr. Barton made a patently
            false statement on PDF Document Properties /METADATA. Again, the review
            undermined Justice, by allowing in FACT OBSTRUCTION of justice to PREVENT
            JUSTICE BE served in this review process.

   Therefore Mr. Barton had great self -interest to be the
   reviewing Officer so JUSTICE can be Obstructed and never served
   to protect himself AT ALL COST as the perpetrator in my Witness
   complaints with the selfish interest to undermine the FAIRNESS
   and JUSTICE at USC.

   How can ANY PERSON IN the WORLD CALL this review, IMPARTIAL.
   Clearly it is 1000 flawed process.

   Thus Impartiality in this case was intrinsically impossible in
   my vase.

   The fundamental truth is Mr. Barton used his position as the
   JUDICIAL OFFICER of SJACS to defend himself and Prof. Tenderich
   against the charges my Witness filed with the USC PROVOST
   OFFICE against both of them, while taking UNFAIR Advantage of
   me. Mr. Barton action clearly amounts to taking unfair
   advantage of me, a blatant violation of USC CODE of ETHICS.

   If he admitted the truth about the difference between PDF
   Document Properties and PDF Document time stamp/date stamp, the
   essence of my Witness II affidavit, he would admit to committing
   falsity and deliberate misrepresentation in his Dec. 16th email.

   Therefore Mr. Barton had no other choice but to dismiss my
   Witness second factual affidavit as ~~perspective" and make sure
   m y witness is never allowed to be intervened by SJACS.

   THAT IS the ABSOLUTE Unfairness and Injustice what happened in
   my review.


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      III.   Additional violation of USC Student Conduct Code section 10.30 IV

      A. Mr. Barton grossly committed GRO55 NEGIGANCE amounting RECKLESS CONDUCT in his
         total failure to follow the DUE DILLEGENCE AS THE MANDATORY REQUIREMT of FAIR and
         IMPARTIAL Review.

   It was incumbent on Mr. Barton as SJACS JUDICIAL OFFICER to
   follow due diligence   required both under section 10.30 IV AND
   USC OFFICIAL POLICY TO SERVE JUSTICE and FAIRNESS TO ALL its
   students.

   Mr. Barton's conduct as 1000 documented in his Summary
   represents GROOS Negligence. First, he was required to use DUE
   Diligence to review all the facts and documentary evidence
   provided by Prof.Tenderich, my Witness and I. He absolutely
   failed his duty.

   First, the complaint states: Daniel Kowbel replied to my email
   the following Monday October 17th, and attached the electronic
   copy of his Midterm.

   My additional evidence, submitted to SJACS on February 1,
   clarifies Prof .Tenderich's statement: I stated: Exhibit A
   (Prof. Tenderich's complaint) contains Tenderich statement that
   I resubmitted MY MIDTERM on October 17tH.

   The same email states, Exhibit Bl (IT log) lists the
   corresponding date: 10/17/11:56 a.m.



   My statement in the email sent to SJACS on February lst that I
   resubmitted my Midterm on October 17th,  HAD ONE AND ONLY
   MEANING, I did send to Prof Tenderich on 10/17/11:56 a.m the
   same PR429 Midterm PAPER.pdf which I submitted originally to
   him on October llt'' and later forwarded to him on October 17tH,
   at 11.48 p.m .

    In his complaint, Prof. Tenderich further states: "This email
   (second email sent to him on October 17th) had the Midterm
   attached". Prof. Tenderich actually attached the copy of the
   second email, which states: Attachments: PR429 Midterm Paper.
   PDF.

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   Since he is using the same term, midterm attached, clearly he
   refers to the same attachment in both emails sent to him on
   October 17th. The fact that Prof. Tenderich did not attach a
   copy of the first email provides undisputed proof that both
   emails contain the same attachment: PR429 Midterm Paper.pdf_


   IF Mr. Barton had any problem Of understanding this undisputed
   FACT he was required UNDDER USC due Diligence in his Duty as
   SJACS JUDICIAL OFFICER to contact me to seek any clarification
   to prevent any misunderstanding, so FAIRNESS CAN BE SERVED in
   the review process. He FAILED to do so.

   Furthermore my opening statement states the FACTS regarding my
   FATHER correspondence with USC PROVOST OFFICE.

   Mr. Barton was given another opportunity, to ASK ANY CLARIFYING
   QUESTIONS BUT HE INTENTIONALLY REFUSED TO DO S0.

   HIS CONDUCT is made in ABSOLUTELY RECKLESS DISREGARD OF THE
   TRUTH. But as STATED in this complaint it was much more than
   that.

   HIS RECKLESS CONDUCT had only one and only purpose: to exonerate
   himself of the charges brought by my father against him by my
   father to ASSURE 1000 JUSTICE IN THIS CASE WILL NEVDER SERVED.

   THAT is the ultimately FLAWED, UNJUST and UNFAIR REVIEW PROCESS.

   Therefore he GROSSLY FAILED HIS Duty and violated not only
   10.30.IV section but the USC POLICY ON FAIRNESS AND JUSTICE for
   ALL USC students.

   The email sent by me on October 17, 11:56 a.m. to Prof.
   Tenderich,   Your midterm" is a part of the case record on the
   basis of its USC IT log RECORD (attached by Prof. Tenderich) and
   its meaning first defined by Prof. Tenderich in his complaint
   and further 100% clarified by me in the email sent to SJACS on
   February 1St. Both Prof. Tenderich and USC IT server have it, as
   of October 17th, as proved by the case record.

   While the facts stated above are undisputed, I am attaching a
  copy of it.   This email ~~ Your midterm" is a part of IT log
  (documentary evidence provided by Prof. Tenderich, stating
  "Your midterm") and it is on USC server as undisputed evidence.

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   IT HAS EXACTLY the SAME ATTACHMENT as, forwarded EMAIL (sent on
   October 17th at 11:48 pm to Prof. Tenderich):
   PR 429 Midterm Paper.PDF., which was attached as the documentary
   evidence by Prof. Tenderich and it has the SJACS date stamp.

   That is EAXTLY what I stated in my email sent to SJACS on
   February 1St, "Additional Evidence".

   THUS "the attached Midterm" to both emails I sent to Prof.
   Tenderich on October, 17, as it is referred to by Prof.
   Tenderich in his complaint is as the matter of undisputed FACT,
   PR429 Midterm Paper, PDF.




   My email sent to SJACS on February 15t 1000 proved that file
   creation date in a screen picture, Exhibit C, CAN NEVER
   REPRESENT THE Actual Original file creation in my specific case.
   Since the PR429 Midterm Paper.PDF, was as a matter of
   undisputed fact first resubmitted to Prof. Tenderich on
   10/17/11:56 a.m. and then forwarded to Prof,. Tenderich on
   October 17 at 11:48 p.m.    THUS exhibit C refers to the same PR
   429 Midterm Paper. PDF. Thus as the matter of undisputed fact,
   file creation in Document Properties of ~~ PR429 Midterm Paper."
   PDF as shown in Exhibit C must correspond to both emails sent to
   Prof. Tenderich on October 17t'' since they both contain the
   PR429 Midterm Paper. PDF file.

   Undisputed evidence shows that the PR429 Midterm PDF file was
   sent twice on October 17th, first at 11:56 a.m and then at 11:48
   p.m..

    The above undisputed facts established the following: Exhibit
   C file creation date applies equally to the same PR429 Mid Term.
   PDF file resubmitted on October 17 th at 11: 56 a.m. and then
   forwarded to Prof. Tenderich on October 17th at 11: 48 p.m.

      It is physically impossible that PR429 MidTerm PDF could had
   been created on October 17th at 6:52:15 p.m, as Exhibit C
   suggests, and sent to Prof Tenderich six hours earlier, on
   October 17 at 11: 56 a.m.

   IN SIMPLE TERMS: if the PR429 Mid Term PDF file was created at
   6:52:15 p.m on October 17*-~' as falsely claimed by Mr. Harton, it

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   WOULD NOT EXIST on October 17~' at 11:56 a.m.                    and I COULD NOT
   SEND ANON EXISTING FILE TO PROF. TENDERICH.                      THAT IS
   PHYSICALLY IMPOSIBLE.

    THAT IS EXACTLY WHAT I STATED in my email sent to SJACS on
   February 1St

   HOW COULD USC JUDICIAL OFFICER BARYON BE SO RECKLESS TO
   DISREGARD my email sent to SJACS on February 1St. There is only
   one answer   to protect himself against the charges filed
   against him by obstructing JUSTICE and FAIRNESS at USC.

    Therefore, undisputed evidence shows that the date in Exhibit C
   provides absolutely no evidence on the original file creation.
   In fact, Exhibit C provides absolutely no EVIDENCE that I did
   not send my original midterm to Prof. Tenderich on October 11tH.

   AGAIN, the criticality of my Witness Affidavit II and my
   Exhibits E and F is so ESSENTIAL to this case and it was not
   only ignored by JUDICIAL OFFICER BARYON, but in my Witness CASE
   labelled ~~PERSPECTIVE".

   If Exhibit C corresponded indeed to PDF DOCUMENT time stamp/date
   stamp the original file creation date could had never been
   changed by any factors. But as stated by my Witness, verified
   by ADOBE and proved by my EXHIBITS E and F, PDF Document
   Properties has nothing to do with the PDF Document time/date
   stamp and is subject to changes, edition, alterations, etc by a
   number of mechanisms. Therefore, It does not, and it can not
   represent the original document creation date in my case.

    The undisputed facts presented above also prove the following:

      i)    As stated above data in a digital picture can be changed proving the picture taken
            by Mr. Barton can not be admissible evidence

      ii)   PDF Document Properties /metadata as proved above is not PDF Document Time
            STAMP/date stamp and it provide no evidence when original document was
            created.

   These undisputed facts 1000 prove the following:

      i)    Mr. Barton statement made on Dec. 16 on the TIME Stamp/date stamp is patently
            false.

     ii)    li) Prof. Tenderich statement in his complaint on Time Stamp/date stamp is
            patently False

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      ill   Mr. Barton acted in Reckless Disregard of the TRUTH when making his statement
            about Time Stamp /date stamp not only on Dec. 16~h but also t in his SUMMARY




    Mr. Barton acted in Gross Negligence during the review by
   utterly failing to fairly, according to 10.30. IV, review all
   these   undisputed facts. If he, for whatever reason, had any
   trouble to understand these undisputed FACTS or any confusion on
   these undisputed fatcs, he was required under a FAIR review
   standard to simply contact me for any clarification. THAT IS A
   UNIVERSAL FAIRNESS standard clearly imputed to section 10.30.IV
   of USC rules.

   In addition, SINCE SJACS/ Mr. Barton has never in any way
   corresponded with me after Dec. 16th, my father as stated in my
   opening statement of the APPEAL, via the USC PROVOST OFFICE gave
   SJACS a chance to clarify any issues.

   As stated in the opening statement of the APPEAL, USC PROVOST
   OFFICE stated, NO ADDITIONAL INFORMATION IS NEEDED.

   That evidence, further PROVES not only GROSS NEGLIGANCE but
   RECKLESS CONDUCT BY JUDICIAL OFFICER BARYON to ASSURE THAT
   JUSTICE AND FAIRNESS WILL NEVER BE SERVED IN MY CASE.

   THAT IS the ABSOLUTELY FLAWED INTERVIEW PROCESS, which was
   solely used by Mr. Barton to EXONER.ASTE Himself and Prof.
   Tenderich against charges filed against them by my FATHER with
   the USC PROVOST OFFICE. The ONLY WAY JUDICIAL OFFICER BARYON
   could had exonerated himself and Prof. Tenderich is to ACT IN
   RECKLESS DISREGARD OF THE TRUTH. That is exactly what happened
   in this review process.

    USC, implied in fact, FAIRNESS standard prohibits Mr. Barton
   simply to say IT IS IMMATERIAL only because he did not
   understand it or simply he did not want understand it so
   INJUSTICE can be served in my case in order to help himself and
   Prof. Tenderich in my Witness complaints against them. THAT is
   1000 Unfair, BIASED and Flawed review process.




   This a monumental, GROSS negligence committed Mr. Barton in
   violation of not only section 10.30.IV but also IMPLIED in FACT
   USC Policy on FAIRNESS.

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      B. Mr. Barton violated implied in fact SJACS Policy on admissible evidence by submitting
         non SJACS Validated evidence.

   The alleged evidence on time stamp/date stamp emailed to me Mr.
   Barton on December 16t'' is a just a screen digital picture.    I
   am attaching the printed actual digital picture attached to
   Mr. Barton email sent on Dec.l6th, as Exhibit C.     There is
   absolutely no evidence who took that picture, when and IF the
   screen picture supplied by Barton in fact is REALLY the PDF
   Document Properties metadata as furnished to SJACS by Prof.
   Tenderich on October 27th    The undisputed fact is that in his
   email with ALL SJASCS validated evidence, that picture was not
   included. There is absolutely no evidence on the record, that
   Prof. Tenderich supplied a copy of this picture, since that
   picture has no SJACS received October 27t'' date stamp.

   SJACS implied in fact policy on admissible evidence was 1000 not
   followed BY Mr. BARYON      The review of the evidence submitted
   by Mr. BARYON 1000 shows that for any evidence to be admissible
   in this case, it must contain both SJACS time stamp, received
   SJACS October 27th as well as the evidence it is kept in the
   SJACS binder (the evidence of the Binder holes)

   The undisputed evidence in the case proves that a digital screen
   picture information can be altered.

   Therefore introducing in admissible evidence by Mr. Barton
   undermined the FAIRNESS of review process by allowing a
   potential tampering with evidence.

   THE ONLY TIME that screen picture could be admissible if SJACS
   personal responsible for SJACS evidence on the record would
   take that PICTURE ON OCTOBER 27th, printed it, applied the
   RECEIVED SJACS October 27th date stamp and kept it in the CASE
   EVIDENCE BINDER with ALL OTHER SJCS VALIDATED CASE EVIDENCE.
   Then on Dec. 6th that SJACS validated picture would be sent to me
   with ALL OTHER EVIDENCE. THAT was not the case.
   No Fairness or Justice can EVER be served AT USC if there is
   any potential at ALL of tampering with evidence.

   That is monumental violation of not just Student Conduct Code
   but USC policies on FAIRNESS and USC CODE OF ETHICS



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   The fact that Mr. Barton provided this non SJACS validated
   alleged evidence only after getting my Father complaint which is
   1000 based upon SJACS validated evidence raises additional
   fundamental problems with Mr Barton following any FAIRNESS
   standard.

      C. Mr. Barton falsely stated in his email on December 16th that a screen picture of PDF
         document properties is the evidence on the time stamp/date stamp. His statement
         was made in RECKLESS Disregard of the TRUTH.

   Mr.Barton in his email on December 16th refers to a screen
   picture of the PDF document properties as PDF document time
   stamp.

   As the USC employee he was required to conduct a due diligence
   on any statements he made in his capacity as SJACS Judicial
   OfFICER. He made absolutely no effort to verify the
   truthfulness of his statement. AS matter of undisputed fact he
   acted in RECKLESS Disregard of the truth in total violation of
   USC policy on fairness.


      D. Mr Barton dismissed my Witness two Affidavits containing key material facts to the
         case and disregarded my WITNESS material facts presented in his Affidavits as
        "Perspective" would indeed have no impact on the case.

   On December 22 and I submitted my Witness First Affidavit to
   SJACS. It provides factual information 100% proving that using
   IT log lack of information on the received email, Provides
   ABSOLUTELY NO EVIDENCE that the email in question was not sent
   b y me on October 14th. IT is a highly MATERIAL FACT to ESTABLISH
   preponderance of EVIDENCE in my case and MR BARYON VIOLATED THE
   FAIRNESS of the Review by not not even mentioning its EXISTANCE.

   On January 30 th I submitted to SJACS my NEW EVIDENCE document
   with 12 attachment attached, including my Witness II AFFIDAVIT.

   The second AFFIDAVIT is based upon FACTS attained by the Witness
   b y Witness including KEY ADOBE Technical Group verification of
   these facts.

   The fundamental undisputed FACT is that PDF Document time stamp/
   date stamp has absolutely nothing in common with PDF Document
   Properties Metada including its file creation date.

   The PDF document time stamp/date stamp CAIN NOT BE ALTERED, it


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   provides EVIDENCE on the actual initial DOCUMENT CREATION date.

   The PDF document Properties, including its Meta data file
   creation can be edited, changed, and altered. IT PROVIDES
   ABSOLUTELY NO EVIDEDENCE on the initial FILE CREATION DATE since
   it has no real traceability to the initial file creation date.

   In addition the Witness II Affidavit states provides evidence
   that like PDF Document Metadata the digital picture information
   can be edited, altered and changed.

   Therefore just a digital picture provides no evidence by itself
   unless it is properly validated.

   The evidence provided by my Witness is critical to establishing
   the following:

      1. Prof. Tenderich claim on time stamp/date stamp is FALSE.

      2. Mr. Barton claim on time stamp/date stamp is false.

      3. The non validated digital picture supplied b Mr. BARYON can not served as admissible
         evidence.

   In addition, I am attaching an email my father as my Witness
   sent to SJAS ~~Clarification on my affidavits"

   The email clearly states the critical importance of my Witness
   ACTUAL knowledge directly related to my case addressing to
   critical issues:

      i)     First affidavit exact situation like my email not received ny Prof. Tendertich.

      ii)    li) the factual basis of the FACT that calling PDF time stamp/date stamp a PDF
             Document Properties is FALSE.

   Thus my Witness affidavit not only provide key material evidence
   to support my case but PROVED that Mr. Barton made a patently
   false statement.

   Mr. Barton action against my Witness 100% undermined the
   fairness of the review process.



      E. Mr. Barton disregarded ALL material evidence presented by me (except USC IT email)
         as 100% immaterial to the case

   My evidence submitted to SJACS on January 30 contains the

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   following Exhibts:

   Exhibit C a digital picture absolutely no SJACS validation
   showing date of file creation of 10/17/2016 6:52:15 p,m

   The complaint submitted by Tenderich states Monday, October 17
   11:52.15 a.m. In light the most favorable to Mr. Barton, and
   allowing his inadmissible evidence still be considered Exhibit C
   proves that Prof. Tenderich made PATENTLY FALSE statement.

   6:52:15 pm time is NOT 11: 52:15 a.m.



   The SJACS record shoes that none of the pages of my Midterm
   REPORT has the TIME stamp/date stamp on THEM.

   Therefore both Prof.TENDERICH and Mr. Barton made PATENTLY False
   statements on TIME STAMP/DATE STAMP.

   Exhibit E has the definition of time stamp/date stamp 1000
   supporting my Witness Affidavit II.

   Exhibit F has the definition of Metadata in PDF document
   properties 100% supporting my Witness Affidavit II.

   On February lst I submitted additional evidence to SJACS 1000
   proving that the creation date as shown in Exhibit C CAN EVER BE
   THE OROGINAL FILE CREATION DATE.

   Prof. Tenderich complaint as supported by his IT log, states
   that I did send my Midterm Paper electronic copy to him on
   October 17th at 11.56 a.m.   Yes, I did send to Prof. Tenderich
   on October 17th at 11:56 a.m and email with attached PDF file of
   the Midterm Paper and then on October 17th at 11:48 p.m. re sent
   my original email sent on October 11th, with the same attached
   filed, PR429 MidTerm.PDF.

   Therefore the digital picture information provided by Mr.Barton
   with FILE CREATION of October 17 6:52: 15 p.m CAN NOT REPRESENT
   THE original file creation

   Section IIIA, presented above fully supports this conclusion.

   Therefore the material FA1SE statement made by Prof. Tenderich
   actually represents DELIBERATE MISREPRESENTATION.


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   Prof. Tenderich fabricated the date of October 17 11:52:15 a.m
   in his complaint to Deceive USC that I created the filed before
   the undisputed file submission date, October 17 11:56: a.m.

   Therefore ALL FOUR Elements of Deliberate Misrepresentation are
   MET.

      1. The statement is OBJECTIVELY FALSE.

      2. Prof. Tenderich had actual knowledge of its FALSITY.

      3. It is material.

      4. It was made deliberately with the INTENT to DECEIVE USC

   Mr. Barton action on my evidence 1000 undermines the Fairness of
   the review process.


      F. Mr .Barton omitted the absolutely critical fact in the Summary what is the actual
         time in the PDF Document Properties Metadata.

   Mr Barton intentionally omits the fact that PDF document date of
   October 17 6:52:15 pm actually proves that Prof Tenderich claim
   on the time stamp/date stamp (even if I allow Barton to use
   false statement using PDF Document Properties in lieu of the
   actual date stamp statement made by Prof. Tenderich in his
   complaint) 1000 proves that Prof. Tenderich's complaint is a
   Deliberate Misrepresentation.



      G. Mr .Barton omitted the fact that Prof. Tenderich complaint FALSE statements which
         by themself constitute the undisputed FACT that Prof. Tenderich committed ACT of
         Dishonesty

   Attached is the USC Policy on Dishonesty of its employees. It
   states: providing false, inaccurate and fraudulent information
   in the course of conducting business or university documents..


      H. Mr. Barton omitted in his summary the fact that False Statements made by Prof.
         Tenderich amount to DELIBERATE Misrepresentation in clear violation of USC Ethics
         Code.


         Attached is a copy of USC code of Ethics, which states: We do not tolerate deliberate
         misrepresentations. In FACT the complaint was made by a USC PROHIBITED conduct
         and should have been dismissed on that basis.

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      IV.      Mr Barton Violated of USC Policy on Dishonesty.


      A. On December 16t'' sent me an email containing a patently false statement on "time
         stamp: as 100% proved above. Making a patently false statement clearly amounts to
         providing false information.

      6. Mr Barton makes a patently false statement in his Summary by falsifying both the
         complaint and EXHIBIT C. He states: The properties of the PDF Document submitted
         by Mr. Kowbel shows a date stamp of October 17, 2016, confirming that the
         document was created six days after the deadline for the assignment. The complaint
         states the following: the PDF Document he submitted as his midterm has a date stamp
         of Monday, October 17~h 11:52:15 AM and therefore seem to have been created six
         days after the due date white the Exhibit .

            Mr. Barton intentionally falsified the record by omitting
            Three critical material facts: the complaint states: i)
            PDF Document has a date stamp not PDF Document Properties
            Metadata ii) fraudulently omits the actual time: 11:52:15
            AM in the complaint, iii) and in order to deceive USC
            further just states October 17. Date in Exhibit C, not the
            full date, critical to the case, October 17 6:62:15 p.m.
            Under US laws, which USC MUST obey, omitting material
            evidence is FRAUD, Omitting key material evidence within
            narrow USC rules is DISHONESTY. Omitting key evidence is in
            fact ~~making FALSE STATEMENTS".




      C. In his Summary he states Mr. Kowbel has submitted statement s may have not been
         received by the professor as a result of faults with USC network performance. THAT is
         a patently false statement which ignores all the statements made by me in "Statement
         of Facts "submitted to SJASC on December 22"d and discussed in detail above.




      V.       Mr. Barton violated USC Code Of Ethics

   Mr. Barton patently false statements, A and B as stated above
   are meet all the criteria of Deliberate misrepresentation which
   is a USC Code of Ethics Prohibited act.

      i)      It is objectively false statement -the falsity is undisputed as proven above


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      ii)    Barton made it either with actual knowledge of its falsity, or in Reckless Disregard
             of the truth both cases proved above and in the case record

      iii)   His false statement was material. Within US Supreme Court definition they
             affected decision, thus were material

      iv)    He made it with the specific intent to deceive and prove his argument by deceitful
             action.

      No mistake took place, purely intentional and deceitful
      conduct.

      VI.    Mr. Barton violated USC Student Conduct Code Section 10.30.IX

   Section 10.30 IX states:             Factual basis for conclusion drawn
   (must be used)

      A. Mr. Barton uses his personal opinion not a fact supported by any Evidence on the
         RECORD .

   Barton claims that PDF Document Properties in his picture,
   evidence C, would not contain a creation date after the date the
   email was.

   He provides absolutely no evidence to support, 1000 speculative
   statement.



      B. The undisputed evidence on the record categorically proves that Mr. Barton
         conclusion is PATENTLY FALSE.

   The undisputed evidence on the record shoes:

      i)     PDF Document Properties meta data including its creation file date can be change
             or edited providing absolutely no evidence on the original PDF document creation
             date.

      ii)    The evidence presented above in section III.A 100% dis proves it. It is patently
             false statement

   VII. Mr Barton violated USC Student Conduct Code section 10.
   II. 2 Standard of Proof.

   The lO.II.e sections states: The preponderance of evidence means
   that based upon Totality of Evidence and reasonable inferences
   drawn therefrom, it is more likely than not that the responded
   committed the prohibited conduct charged



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      A. Mr. Barton utterly failed in reaching his conclusion to consider the totality of
         evidence.

   As the matter of the undisputed fact, Mr. Barton in his Summary
   OMITS the critical second claim Prof. Tenderich made against me
   on, PDF Document date stamp of 11:52:15 a.m, and the full date
   in Exhibit C, October 17 6:52:15 p.m. In terms of my evidence he
   only states my USC IT email as any evidence supporting my case.
   He UTTERLY disregards my Witness two Affidavits and ALL OTHER
   MATERIAL Evidence stated above properly submitted to me to SJACS

   Prof. Tenderich's complaint against me has two basic claims:

      1. sent email allegedly proving I did not submit my ORIGINAL MID TERM to Prof.
         Tenderich on October 11th

      2. Alleged date stamp again allegedly proving I did not submit my Mid term report to
         Prof. Tenderich on October 11th

   On the first claim: Prof. Tenderich provides just one evidence,
   USC IT log. It is missing the October 11th entry of my Original
   submission. JUST the mere FACT that IT log does not contain the
   October 11th entry, is USED as the EVIDENCE to prove that the
   email in question, was never sent

   As discussed above I provided the following                      evidence to 100%
   DIS PROVING Prof. Tenderich's first claim.

   My witness Affidavit I provides TWENTY ONE CASES (not just ONE
   case) in which sent email did not reach the intended recipient.
   My Witness AFFIDAVIT I 100% proves that a missing entry in the
   IT log PROVIDES ABSOLUTELY NO EVIDENCE AT ALL if the email in
   question was sent. The fundamental reliability of EMAIL System
   is not 1000. Therefore as stated in my Statement of the Facts
   submitted to SJACS on Dec. 22nd, Item SIX, My witness AFFIDAVIT
   I presented undisputed evidence which clearly established the
   following FACTS:

      i)     The email system is not 100% reliable

      ii)    It can be affected by a plethora of internal and external factors resulting the
             ACTUAL SENT email not reaching the INTENDED RECEIPIENT.

   The above presented summary of undisputed evidence presented by
   my Witness and I clearly established preponderance of evidence
   in my favor on Claim 1



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   The second claim states: His PDF Document on   Mid Term has Date
   STAMP of Monday, October 17th, 11:52:15 a.m. This alleged date
  STAMP leads Prof. Tenderich to the following conclusion:
  "therefore seems to have been created six days after the due
  date".

   First, AS STATED ABOVE Mr. Barton Committed undisputed FRAUD, he
   SIMPLY OMMITTED the whole THE SECOND CLAIM from his SUMMARY.
   No where in the summary "date stamp is stated with the October
   17th 11:52:15 a.m actual date.

   THAT FRAUD by itself disqualifies Mr. Barton as USC JUDICIAL
   OFFICER and renders his summary a FRAUD.

   But Mr. Barton's    FRAUD extends further.

   On the second claim Prof. Tenderich provided ABSOLUTELY no
   evidence on the date Stamp since the SJACS validated evidence of
   what Prof. Tenderich submitted on October 27th to SJACS had
   absolutely no PDF Document TIME/Date stamp or even a SJACS
   validated screen picture of PDF Document Properties.    Therefore
   Prof. Tenderich's SECOND Claim is a 1000 unsupported allegation
   based upon USC/SJACS implied in fact evidence admissibility
   standard. However, Mr. Barton introduced his OWN non- SJACS
   validated evidence, without any expressed or implied in fact
   authority, falsely claiming that PDF Document Properties is the
   same as PDF DOCUMENT TIME stamp/date stamp. As 100% proved above
   by my Witness II affidavit (including ADOBE statements) and my
   Exhibits E and F submitted to SJACS on January 30th Mr. Barton
   made not only a patently FALSE statement on PDF Document time
   stamp/date stamp but actually committed a deliberate
   misrepresentation. Next FRAUD in Summary is to entirely omit the
   SECOND CLAIM by Prof. Tenderich as stated Above.

    BUT THE SUMMARY has also a SECOND FRAUD. After intentionally
   omitting the second claim, FIRST FRAUD, now he falsifies EXHIBIT
   C, only stating in Summary OCTOBER 17 th, not the whole date,
   October 17th, 6:52:15 p.m. which was the key material evidence to
   prove in SECTION IIIA , that EXHIBIT C file creation date, does
   not correspond to the original file creation date.

   Again, I am proving my case in light the most favorable to
   Mr.Barton and Prof. Tenderich. I am using the non SJACS
   validated, which is 1000 inadmissible evidence, picture Mr.
   Barton Provided by himself outside the formal review process,
   Exhibit C, as the evidence I have to dis prove.

                                      ~;~
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   As discussed above, I provided the following evidence to dispute
   Prof. Tenderich's second claim and Exhibit Exhibit C introduced
   outside the complaint process by Mr. Barton.

   The evidence introduced by my Winess in Affivit II and my
   evidence submitted to SjACS on January 30 proved the following:

      i)    Both Prof. Tenderich and Mr. Barton made false statements on date stamp.

      ii)   Prof. Tenderich committed Deliberate Misrepresentation on date Stamp claim

   In summary, First I proved 1000 that PDF Document Properties,
   Exhibit C IS NOT the PDF Document date STAMP as stated in Prof.
   Tenderich's complaint. Therefore the statement made by Prof.
   Tenderich on PDF Document date STAMP is objectively FALSE.
   Secondly,   there is a monumental difference between the two:
   PDF Document time stamp/date Stamp CAN NOT BE altered while PDF
   Properties Metadata including its creation date can be changed,
   altered and EDITED. Thirdly, as proved above Prof. Tenderich's
   date Monday October 17 11:52:15 AM in his complaint is not
   the date on EXHIBIT C, which shows the date 6:52:15 PM.
   Thus,Prof. Tenderich's statement on the PDF Document date
   stamp in his second claim is false if Exhibit C is allowed to
   become evidence. I have also proved that Prof. Tenderich made
   no mistake but deliberately created that FALSE statement on the
   PDF Document date STAMP to fraudulently prove his case, Section
   III E.

   Also as 1000 proved in section III.A    Mr. Barton committed
   Gross Negligence in his review and omitted the UNDISPUTED TRUTH:

    As 100% proved in Section IIIA: if the original file was in
   fact created on Monday October 17 6:52:15 p.m. per Exhibit C, .
   IT COULD HAD NOT been sent to him on Monday October 17th at 11:
   56: 15 a.m.. THAT FACT is 1000 supported by the factual and
   documentary evidence.

   Undisputed evidence, discussed in section III A showed that the
   SAME file, PR429 Mid Term PDF was sent to Prof. Tenderich on
   October 17th twice, first at 11:56 a.m and then on October 17 at
   11:48 p.m. THUS Document Properties, Exhibit C corresponds to
   the same file, PR 429 Mid Term. PDF. As I stated in my email
   sent to SJASCS on February 1 and reiterated in section IIIA, it
   is physically impossible to send a NON -EXISTING FILE. If PR
   429 Midterm.PDF was indeed created on October 17 at 6:52:15 p.m


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   as Exhibit C would suggest IT COULD HAD NOT BEEN SENT to PROF.
   Tenderich six hours earlier October 17 11:56 a.m. as 100%
   proved by undisputed evidence in section IIIA.

   THAT IS WHY it was so important for my Witness to even go as
   far as directly contact ADOBE to 1000 prove that PDF Document
   properties can be changed by a number of factors and the PDF
   Document Properties screen displayed file creation date can
   actually show a different date then the original file creation
   date. UNDER NO CIRCUMSTANCES PDF DOCUMENT Properties file
   creation date can provide evidence that the original file was
   not CREATED on October 11th in my case based upon the undisputed
   record.

   On the other hand, the PDF Document time stamp/date could had
   never be changed and it would indeed provide evidence if the
   original file was or was not created on October 11tH.

   Therefore, the totality of evidence 1000 dis proves Prof.
   Tenderich's second claim and the preponderance of evidence is
   100% in my favor on the second claim since there is no evidence
   on the second claim provided by Mr. Barton and Prof. Tenderich
   (under USC rules FASLSE statements and deliberate
   misrepresentations are not EVIDENCE since they are USC
   PROHIBITED ACTS) to support it. As 1000 proved in section IIIA,
   Exhibit C file creation date of October 17, 6:52:15 p.m CAN not
   represent the original file creation. As the matter of
   undisputed facts, there is absolutely no evidence on the record
   to support Prof. Tenderich's conclusion that my PR 429 Mid
   Term.PDF was not created on October 11tH.



      B. Mr. Barton committed Deliberate misrepresentation to fraudulent to stly prove Prof.
         Tenderich complaint.

   The undisputed evidence proves that both Mr. Barton and Prof.
   Tenderich are the one who CONIl~IITTED PROHIBITED acts of
   DISHONESTY and Deliberate misrepresentation NOT I.
   Mr. Barton responsibilities as the reviewing officer in his
   Summary was to clearly and exactly state Prof. Tenderich's
   second claim in his complaint and using the evidence on the
   record prove it or dis prove. THAT is the FAIR and IMPARTIAL
   review.   Mr. Barton was not allowed to FALSIFY the EVIDENCE.
   Mr. Barton First Fraudulently omitted the actual second
   claim   Then Mr. Barton omits the full date in Exhibit C which,
   first proved 1000 Prof. Tenderich made a patently false

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   statement, secondly as 1000 proved in section IIIA it would 100%
   dis prove Prof. Tenderich's second claim.

   Within the US laws, which UCS MUST OBEY, intentionally omitting
   material evidence with intent to deceive is UNDISPUTED FRAUD.

   But as stated above, SECTIONS IV B and V, Mr. Barton
   intentionally Falsified both the second claim and Exhibit in
   order to fraudulently prove it. That is undisputed act of
   deliberate misrepresentation, a PROHIBITED Conduct UNDER USC
   Code Of Ethics.


      C. Mr. Barton uses deliberate misrepresentations as the basis for his inferences.

   FALSE statements can not be the basis for any reasonable
   inferencing. Mr. Barton is attempting to prove the case by
   using the statement that PDF Document Properties in his picture,
   Exhibit C, proves that my original document was created on
   October 17 at 6: 52: 15 pm.

   He is using a deceptive, FRAUDULENT and UNFAIR tactic, FIRST
   entirely omitting Prof. Tenderich's second claim and then
   stating only that Exhibit C shows the date of October 17th thus
   there no way the PDF document could had been submitted on
   October 11th.
   Mr. Barton again uses FRAUD not to STATE TRUTH that Exhibit C
   shows October 17, 6:52:15 p.m. date
   Section III A 1000 proves it is a patently false statement.
   Section V proves it is a deliberate misrepresentation
   (fraudulent misrepresentation).

   That is why I provided so much evidence that Prof. Tenderich and
   Mr. Barton have produced absolutely no EVIDENCE on TIME STAMP/
   date stamp.

   The time stamp/date stamp issue was so critical to this case but
   Mr. Barton made absolutely no MENTION of it in his summary and
   any differences between the PDF Document time stamp/date stamp
   and PDF document Properties and how that fundamental difference
   AFFECTED this CASE.

   Therefore his inferencing that I could had not submitted my
   original Mid Term on October 11th is made using a patently false
   statement and a deliberate misrepresentation as proven in
   sections III A and V as well as fraudulent conduct, section

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   VIIB.

    C      THE SUMMARY and Closing Statement.

    1. THERE IS ABSOLUTELY no Evidence on the record to show that I did not submit my mid
       term to Prof. Ttenderich on October 11 cn.


    2. As the matter of undisputed fact, I DID SUBMIT MY Original Mid Term paper to Prof.
       Tenderich on October 11 tn.


    3. I made absolutely no FALSE statement to Prof. Tenderich and absolutely did not violate
       USC policy on Academic Honesty.



    4. AS the matter of Undisputed facts it is Prof. Tenderich who committed prohibited
       ACTS of Dishonesty in his complaint.



    5. As the matter of undisputed facts it is Prof. Tenderich who committed prohibited acts of
       making deliberate misrepresentation in his complaint.



    6. As the matter of undisputed facts, Mr. Barton committed prohibited acts of Dishonesty
       in his review.



    7. As the matter of undisputed facts, Mr. Barton committed prohibited acts of deliberate
       misrepresentation in his review.



    8. The review process was fundamentally flawed.



    9. The review process was UNFAIR, BIAS and FRAUDULENT.



    10.  I am a victim of PROHIBITED USC ACTS committed against me
    by both PROF. TENDERICH and Judicial Officer Barton.

   Thus,    Prof.     Tenderich's        case against me MUST BE DISMISSED.

   I,   as the Undisputed          VICTIM in this CASE           of the Gross

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   INJUSTICE INFLICTED on me by Prof. Tenderich's fraudulent
   complaint and JUDICIAL OFFICER BARTON's FRAUD and the harm it
   caused me, CAN NOT BE PENALIZED UNDER US law and USC Policy
   of Fairness and Justice. BUT the PERPETRATORS of THESE OFFENSES
   MUST BE PENALIZED at least BY USC.

   In addition, for Mr. Barton, who committed undisputed
   prohibited acts of Dishonesty and making deliberate
   misrepresentations, to request me, who is a victim of
   Injustice inflicted by him, to write a 5 page essay on Ethics
   is not JUST 1000 unacceptable, It IS AN ISULT TO JUSTICE.

   For the record, undisputed evidence shows that it is Mr. Barton,
   not I who committed USC PROHIBITED ACTS of deliberate
   misrepresentation and DISHONESTY.

   THE FACT THAT USC on whole, including UCS President,    TRUSTED
   HIM as the USC SJACS JUDICIAL OFFICER to serve JUSTICE on
   behalf of USC, brings this case to even a higher level of
   INJUSTICE, UNFAIRNESS and FLAWED PROCESS.

   SJACS Judicial OFFICER is required to uphold JUSTICE at USC,
   NOT undermined The JUSTICE at USC by committi_n_g undisputed
   FRAUD.




   That is the best closing statement in my case.




   Daniel Kowbel




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 1

 z                                     PROOF OF SERVICE
 3    ~ I, Jo Ann Kowbel, declare:
 4

 5    I am resident ofthe state of Arizona, over 18 years old and not a party to this action.
 6     My address: 6841 E. Flamenco, Dr. Tucson, AZ,85710
 7

 s     On, 7/9/2018 I served the following documents: Second Amended Complaint, E~ibit A
 9     and Redlined Second Amended complaint, by placing the documents listed above in a
io     sealed envelope with postage fully pre-paid, in the United States mail at Tucson, AZ
~~     addressed as forth below:
~~
13     Mr. Termer C. Tseng
14    Hill, Farrer and Bovril LLP
~~     Cane California Plaza
16    300 S. Grand Av. 37~` Fl.
~~     Los Angeles, CA 90012
~8
19    I declare under penalty of perjury under the laws of Arizona that the above is true and
ao     correct.
zi
Za ~ Executed on 7/9/201S at Tucson, Arizona.
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      Second Amended Complaint
